Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 1 of 59 Page ID #:13




           EXHIBIT A
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 2 of 59 Page ID #:14
   Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 3 of 59 Page ID #:15


                                                            <*J Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                     Tue, Nov 30, 2021


Server Name:              Carlos Canas




Entity Served             ANDERSEN WINDOWS, INC.


Case Number               30-2021-01232832-CU-WT-CJC


Jurisdiction              CA




 122554-466641-944032
               Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
      Case 8:21-cv-02126-DOC-KES                Document 1-1 Filed 12/29/21 Page 4 of 59 Page ID #:16
30-2021 -01 232832-CU-WT-CJC - ROA # 4 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy Clerk.
                                                                                                               SUM-100

                                                   SUMMONS                                                                     FOR COURT USE ONLY
                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                          (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
  LOS ANGELES CUSTOM WINDOWS, INC. d/b/a RENEWAL BY ANDERSEN OF
  ORANGE COUNTY, a Delaware corporation; ANDERSEN WINDOWS, INC., a
  Minnesota corporation; and DOES 1 through 10, inclusive,

  YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANTE):

   ADALBERTO OROPEZA, an individual,



   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.coudinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
   (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la information a
   continuation.
      Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citation y papeles legales para presentar una respuesta por escrito en esta
   code y hacer que se entregue una copia al demandante. Una cada o una Hamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
   en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
   Puede encontrar estos formularios de la code y mas information en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
   biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentation, pida al secretario de la code
   que le de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
   podra quitar su sueldo, dinero y bienes sin mas advedencia.
     Hay otros requisites legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
   remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servitios legales gratuitos de un
   programa de servitios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
   colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
   cualquier recuperation de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la code antes de que la code pueda desechar el caso.

  The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                              (Numero del Caso):
                                                                                                                                   Judge David A. Hoffer
  (El nombre y direccidn de la code es): Central Justice Center
  700 Civic Center Drive West
                                                                                                                    30-202 1-0 123 2832 -CU-WT-CJC                      J
  Santa Ana, CA 9270 1
  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direction y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
  Cindy Hickox; Stalwart Law Group; 1 100 Glendon Ave. Suite 1840, Los Angeles, CA 90024; 310-954-2000

  DATE.         11/19/2021
                11/19/2021
                                         DAVID H. YAMASAKI. Clerk efthe Court
                                         DAVID H. YAMASAKI. Clerk of the Court
                                                                                                  ,   W.                                                                  ,
  (Fecha)                                                                              (Secretario)                                                          (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
                                                                                                                               Hailey McMaster
  (Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
                                              NOTICE TO THE PERSON SERVED: You are served

           7c                 \               1. |      | as an individual defendant.
                                              2. |      | as the person sued under the fictitious name of (specify):


    $                      tJJB
                                              2    | a
                                                     X | on behalf of (specify): Andersen Windows, Inc., a Minnesota corporation


        y tn wff' ii tn i                            under; I X I CCP 416.10 (corporation)                               CCP 416.60 (minor)
                                                           |    |   CCP 416.20 (defunct corporation)                     CCP 416.70 (conservatee)
                                     y
                                                           |    |   CCP 416.40 (association or partnership)              CCP 416.90 (authorized person)

                                                           I    |   other (specify):
                                              4.          by personal delivery on (date):
                                                                                                                                                               Page 1 of 1
   Form Adopted for Mandatory Use
                                                                                 SUMMONS                                             Code of Civil Procedure §§ 412.20, 465
    Judicial Council of California                                                                                                                    www. courtinfo, ca.gov
    SUM-100 [Rev. July 1,2009]
    Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 5 of 59 Page ID #:17
                                                                                                     FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE

MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                                        FILED
                                                                                                SUPERIOR COURT OF CALIFORNIA
CITY AND ZIP CODE: Santa Ana 92701                                                                   COUNTY OF 0RAN(3E

BRANCH NAME: Central Justice Center
PLANTIFF: Adalberto Oropeza

                                                                                                    Nov 23, 2021
DEFENDANT: Los Angeles Custom Windows, Inc. et.al.
                                                                                                       Clerk of the Court
                                                                                                  By: Hailey McMaster, Deputy
Short Title: OROPEZA VS. LOS ANGELES CUSTOM WINDOWS, INC.




                                                                                        CASE NUMBER:
                                NOTICE OF HEARING                                        30-2021 -01 232832-CU-WT-CJC
                      CASE MANAGEMENT CONFERENCE




  Please take notice that a(n), Case Management Conference has been scheduled for hearing

  on 05/03/2022 at 09:00:00 AM in Department C42 of this court, located at Central Justice

  Center.


  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
 that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.




    IMPORTANT: Prior to your hearing date, please check the Court's website for the most current instructions
    regarding how to appear for your hearing and access services that are available to answer your questions.
    Civil Matters - https 'J!www . oc c ourts . org/me dia -re la tions/c ivil . html
    Probate/Mental Health - https ?/www .occoiuls org/media-relations/probate-mental-health.html



    IM PORTANTE: Antes de la fecha de su audiencia, visite el sitio web de la Corte para saber cuales son las
    instrucciones mas actuates para participar en la audiencia y tener acceso a los servicios disponibles para
    responder a sus preguntas.
    Casos Civiles - https 7/www . oc c ourts . org/me dia-re la tions/c ivil. html
    Casos de Probate y Salud Mental - https://www.occourts.org/media-relations/probate-mental-health.html



    QUAN TRONG: Trade ngay phien tda cua quy vi, vui long kiem tra trang mang cua tda an de biet nhung
    hudng dan mol nhat ve each ra hau phien tda cua quy vi va tiep can nhung dich vu hien co de gial dap nhung
    thac mac cua quy vi.
    Van De Dan Su - https y/www.oc courts .orgmedia-relationsZcivil.html
    Thu Tuc Di Chuc/Suc Khde Tinli Than - https //www . oc c ourts . org/me dia -re la tions/probate -menta l-he alth. html




                                             Clerk of the Court,           By:
                                                                                 97 .                                           , Deputy




                                                                                                                                 Page: 1
                                                         NOTICE OF HEARING
      Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 6 of 59 Page ID #:18

    SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701



   SHORT TITLE: OROPEZA VS. LOS ANGELES CUSTOM WINDOWS, INC.




                                                                                                CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                        30-2021 -01 232832-CU-WT-CJC



      I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
      placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
      pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
      California, on 1 1/23/2021. Following standard court practice the mailing will occur at Sacramento, California on
      11/24/2021.




                                                                      9V.
                                            Clerk of the Court, by:                                                          , Deputy

     STALWART LAW GROUP
     1100 GLENDON AVENUE# 1840
     LOS ANGELES, CA 90024




                                                                                                                                   Page: 2
                                       CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                     Code of Civil Procedure , § CCP1013(a)
                       Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
                  Case 8:21-cv-02126-DOC-KES            Document 1-1 Filed 12/29/21 ~tPage
30-9091 -01 232R39-CI.I-WT-C.IC - ROA # 3 - DAVID H YAMASAKI. Clerk nf the Coil
                                                                                                      7 ofMcMaster
                                                                                                Ry Hailey  59 Page     ID #:19
                                                                                                                    Deputy  (CHVHQ10
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar number, and address):                                                                             FOR COURT USE ONLY
  - Ji-In Lee Houck (SBN 280088); Cindy Hickox (SBN 323016)
    STALWART LAW GROUP, APC; 1 100 Glendon Avenue, Suite 1840, Los Angeles,
        CA 90024; MAILING ADDRESS: 8605 Santa Monica Blvd., PMB 72538, West
        Hollywood, CA 90069
        TELEPHONE NO: 310-954-2000               FAX NO.. 310-943-0303
   attorney for (Name). Plaintiff Adalberto Oropeza
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                             Orange
              street address: 700 Civic Center Drive West
              mailing address: 700 Civic Center Drive West
             city and zip code: Sarita Ana 9270 1
                      BRANCH NAME:    Central Justice Center
       CASE NAME:

       Oropeza v. Los Angeles Custom Windows, Inc., et al.
                                                                                                                                         CASE NUMBER:
              CIVIL CASE COVER SHEET                                                    Complex Case Designation
  I / I Unlimited                            E     Limited                                                                              .30-2021-012328 32-CU -WT-CJ C
                  (Amount                          (Amount
                                                                                 I      I Counter          I     I Joinder
                                                                                                                                         judqe:     judge       David A.        Hoffer
                  demanded                         demanded is                   Filed with first appearance by defendant
                  exceeds $25,000)                 $25,000 or less)                     (Cal. Rules of Court, rule 3.402)                 DEPT:

                                                       Items 1-6 below must be completed (see instructions on page 2).
  1 . Check one box below for the case type that best describes this case:
         Auto Tort                                                          Contract                                          Provisionally Complex Civil Litigation

         EZ Auto (22)                                                       I        I Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)

         I            I Uninsured motorist (46)                             I        I Rule 3.740 collections (09)             i   _1   Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property                           LJ Other collections (09)                          I   ~l   Construction defect (10)
         Damage/Wrongful Death) Tort                                        I.       I Insurance coverage (18)                 !   J    Mass tort (40)
         I        ~l Asbestos (04)                                          I        I Other contract (37)                     I    I   Securities litigation (28)
         I         I Product liability (24)                                 Real Property                                     I     I   Environmental/Toxic tort (30)
         I            I Medical malpractice (45)                            |        ] Eminent domain/lnverse                 I     I   Insurance coverage claims arising from the
         EZ Other PI/PD/WD (23)                                                         condemnation (14)                               above listed provisionally complex case
                                                                                                                                        types (41)
           Non-PI/PD/WD (Other) Tort                        I 1 Wrongful eviction (33)
              1 Business tort/unfair business practice (07) I   I Other real property (26)                                    Enforcement of Judgment

         I I Civil rights (08)                              Unlawful Detainer                                                 I     I Enforcement of judgment (20)
         I I Defamation (13)                                I 1 Commercial (31)                                               Miscellaneous Civil Complaint
         EZ Fraud (16)                                      I J Residential (32)                                               LZ RICO (27)
         I J Intellectual property (19)                     I I Drugs (38)                                                    I     I Other complaint (not specified above) (42)
         I 1 Professional negligence (25)                   Judicial Review
                                                                                                                              Miscellaneous Civil Petition
         I    I Other non-PI/PD/WD tort (35)                I I Asset forfeiture (05)                                         I     I Partnership and corporate governance (21 )
             Employment                                                     I        I Petition re: arbitration award (11)    I     I Other petition (not specified above) (43)
         I / I Wrongful termination (36)                                    I        J Writ of mandate (02)
     | 1 Other employment ( 1 5)                                            I         ] Other judicial review (39)
  2. This case I   I is    I / I is not                             complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:

             a.   I      I Large number of separately represented parties                           d. I       I Large number of witnesses
             b.   I      I Extensive motion practice raising difficult or novel                     e. I       I Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                                        in other counties, states, or countries, or in a federal court

             C.   I      I Substantial amount of documentary evidence                               f. I       I Substantial postjudgment judicial supervision
  3.         Remedies sought (check all that apply): a.|                         | monetary        b.|     | nonmonetary; declaratory or injunctive relief                    c- 1 / I punitive
  4.         Number of causes of action (specify): Nine (9)
  5.         This case                  is        /    is not       a class action suit.
  6.         If there are any known related cases, file and serve a notice of related case. (You may use form
                                                                                                          orm CM-01 5.)

 Date: November 19, 2021                                                                                                           Z7
 Cindy Hickox
                                             (TYPE OR PRINT NAME)                                                            (SIGNATORE..0F PARTY^OR ATTORNEY FOR PARTY)
                                                                                                  NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

  Form Adopted for Mandatory Use                                                CIVII    PAQF COVER QHFFT                                   Cal. Rules of Court, rules 2.30, 3.220. 3.400-3.403, 3.740;
       Judicial Council of California                                                                    v trv on ut i                              Cal. Standards of Judicial Administration, std. 3.10
       CM-01 0 [Rev. July 1 , 2007]                                                                                                                                               www.courtinfo.ca.gov
        Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 8 of 59 Page ID #:20
                                                                                                                                                   CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers.               If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1 . This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet.                    In item 1, you must check
one box for the case type that best describes the case.             If the case fits both a general and a more specific type of case listed in item 1 ,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases.                A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment.         The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading.                       A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases.                 In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                                 CASE TYPES AND EXAMPLES
Auto Tort                                               Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property                     Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                                Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                               Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                                   or wrongful eviction)                   Claims Involving Mass Tort (40)
           motorist claim subject to                            Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                                     Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                     Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                                 Other Breach of Contract/Warranty                   case type listed above) (41 )
Tort                                                        Collections (e.g., money owed, open              Enforcement of Judgment
       Asbestos (04)                                            book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                              Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections                        County)
           Asbestos Personal Injury/
                                                                    Case                                             Confession of Judgment (non
                Wrongful Death
                                                            Insurance Coverage (not provisionally                        domestic relations)
       Product Liability (not asbestos or
                                                                complex) (18)                                        Sister State Judgment
           toxic/environmental) (24)
       Medical Malpractice (45)                                 Auto Subrogation                                     Administrative Agency Award
           Medical Malpractice-                                 Other Coverage                                          (not unpaid taxes)
                   Physicians & Surgeons                    Other Contract (37)                                      Petition/Certification of Entry of
                                                                                                                        Judgment on Unpaid Taxes
           Other Professional Health Care                       Contractual Fraud
                                                                Other Contract Dispute                               Other Enforcement of Judgment
                   Malpractice
                                                                                                                         Case
       Other PI/PD/WD (23)                              Real Property
                                                            Eminent Domain/lnverse                           Miscellaneous Civil Complaint
           Premises Liability (e.g., slip
                                                                Condemnation (14)                               RICO (27)
                and fall)
                                                            Wrongful Eviction (33)                               Other Complaint (not specified
           Intentional Bodily Injury/PD/WD
                                                                                                                     above) (42)
                (e.g., assault, vandalism)                  Other Real Property (e.g., quiet title) (26)
                                                                                                                     Declaratory Relief Only
           Intentional Infliction of                            Writ of Possession of Real Property
                                                                                                                     Injunctive Relief Only (non
                Emotional Distress                              Mortgage Foreclosure
                                                                                                                          harassment)
           Negligent Infliction of                              Quiet Title
                                                                                                                     Mechanics Lien
                   Emotional Distress                           Other Real Property (not eminent
                                                                                                                     Other Commercial Complaint
           Other PI/PD/WD                                       domain, landlord/tenant, or
                                                                                                                         Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                      foreclosure)
                                                                                                                     Other Civil Complaint
       Business Tort/Unfair Business                    Unlawful Detainer
                                                                                                                         (non-tort/non-complex)
          Practice (07)                                     Commercial (31)
                                                                                                             Miscellaneous Civil Petition
       Civil Rights (e.g., discrimination,                  Residential (32)                                    Partnership and Corporate
           false arrest) (not civil                         Drugs (38) (if the case involves illegal                 Governance (21)
           harassment) (08)                                     drugs, check this item; otherwise,               Other Petition (not specified
       Defamation (e.g., slander, libel)                        report as Commercial or Residential)                 above) (43)
            (13)                                        Judicial Review                                              Civil Harassment
       Fraud (16)                                           Asset Forfeiture (05)                                    Workplace Violence
       Intellectual Property (19)                           Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
       Professional Negligence (25)                         Writ of Mandate (02)                                          Abuse
           Legal Malpractice                                    Writ-Administrative Mandamus
                                                                                                                     Election Contest
           Other Professional Malpractice                       Writ-Mandamus on Limited Court
                                                                                                                     Petition for Name Change
                (not medical or legal)                              Case Matter                                      Petition for Relief From Late
       Other Non-PI/PD/WD Tort (35)                             Writ-Other Limited Court Case                            Claim
Employment                                                          Review                                           Other Civil Petition
   Wrongful Termination (36)
                                                            Other Judicial Review (39)
       Other Employment (15)                                    Review of Health Officer Order
                                                                Notice of Appeal-Labor
                                                                   Commissioner Appeals
CM-010 [Rev. July 1,2007]                                                                                                                            Page 2 of 2
                                                            CIVIL CASE COVER SHEET
              Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
          Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 9 of 59 Page ID #:21
 30-2021-012 2832-CU-WT-CJC - ROA# 2 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy Clerc




                Ji-ln Lee Houck (SBN 280088)
            1
                jiin@stalwartlaw.com
           2    David Angeloff (SBN 272929)
                david@stalwartlaw. com
           3    Cindy Hickox (SBN 323016)
                cindy@stalwartlaw. com
           4
                STALWART LAW GROUP
           5    MAILING ADDRESS:
                8605 Santa Monica Blvd., PMB 72538
           6    West Hollywood, CA 90069
                PHYSICAL ADDRESS:
           7
                1 100 Glendon Ave., Suite 1840
           8    Los Angeles, CA 90024
                Telephone:   (310)954-2000
           9
                Attorneys for Plaintiff ADALBERTO OROPEZA
          10

          11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

          12                                 FOR THE COUNTY OF ORANGE            Assigned for All Purposes

                                                                                   Judge David A. H offer
     CL   13
     Z>
                ADALBERTO OROPEZA, an individual,           Case No.: 30-2021-0 1232832-CU -WT-CJ C
     O    14
     cc
     u
                              Plaintiff,                    COMPLAINT FOR:
          15
     <
          16           vs.                                  (1) DISABILITY DISCRIMINATION IN
                                                            VIOLATION OF THE FAIR
          17    LOS ANGELES CUSTOM WINDOWS, INC.            EMPLOYMENT AND HOUSING ACT
                d/b/a RENEWAL BY ANDERSEN OF                (“FEHA”);
CO         18
                ORANGE COUNTY, a Delaware corporation;
          19    ANDERSEN WINDOWS, INC., a Minnesota         (2) FAILURE TO ENGAGE IN THE
                corporation; and DOES 1 through 10,         INTERACTIVE PROCESS IN
          20
                inclusive,                                  VIOLATION OF FEHA;
          21
                              Defendants.                   (3) FAILURE TO ACCOMMODATE IN
          22                                                VIOLATION OF FEHA;

          23
                                                            (4) FAILURE TO PREVENT
          24                                                DISCRIMINATION AND/OR
                                                            RETALIATION IN VIOLATION OF
          25                                                FEHA;

          26
                                                            (5) RETALIATION FOR REQUESTS FOR
          27                                                ACCOMMODATION IN VIOLATION OF
                                                            FEHA;
          28




                                                            1
                                                      COMPLAINT
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                                                     (6) RETALIATION IN VIOLATION OF
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                                                     CALIFORNIA FAMILY RIGHTS ACT
            2                                        (“CFRA”);

            3                                        (7) FAILURE TO PROVIDE PERSONNEL
                                                     FILE IN VIOLATION OF LABOR CODE §
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                                                     1198.5;
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                                                     (8) FAILURE TO TIMELY PAY FINAL
            6                                        WAGES AT TERMINATION IN
                                                     VIOLATION OF LABOR CODE §§ 201-
            7
                                                     202; AND
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                                                     (9) WRONGFUL TERMINATION IN
            9                                        VIOLATION OF PUBLIC POLICY

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                                                     DEMAND FOR JURY TRIAL
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            1          Plaintiff ADALBERTO OROPEZA (hereinafter referred to as “Plaintiff’ or

            2   “OROPEZA”) alleges as follows for his Complaint:

            3                                            THE PARTIES

            4          1.      Plaintiff is an individual, who at all relevant times was and is a resident of Brea,

            5   California, in the County of Orange.

            6          2.      Defendant Los Angeles Custom Windows, Inc. d/b/a Renewal by Andersen of

            7   Orange County (hereinafter referred to as “Renewal”) is a Delaware corporation headquartered at

            8   551 Main Street N, Bayport, MN 55003-1049. Plaintiff was hired by Renewal in 2018 and

            9   employed at the Renewal location at 22982 Alcalde Drive, Laguna Hills, California 92653 in

           10   Orange County.

           11          3.      Defendant Andersen Windows, Inc. (hereinafter referred to as “Andersen”) is a

           12   Minnesota corporation headquartered at 551 North Maine Street, Bayport, Minnesota 55003.

     CL    13   Upon information and belief, Andersen acquired the Renewal location where Plaintiff worked in
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     O     14   or around 2020 and became Plaintiff s employer.
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           15          4.      The true names and capacities, whether individual, corporate, partnership,
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           16   associate, or otherwise, of the Defendants sued herein as DOES 1 through 10, inclusive, are

           17   currently unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.

CO         18   Plaintiff is informed and believes, and based thereon alleges, that each of the Defendants

           19   designated herein as a DOE is legally responsible in some manner for the events and happenings

           20   referred to herein and caused injury and damage proximately thereby to Plaintiff as hereinafter

           21   alleged. Plaintiff will seek to amend this Complaint to show the true names and capacities of the

           22   Defendants designated herein as DOES when the same have been ascertained. Whenever in this

           23   Complaint reference is made to “Defendants,” such allegation shall be deemed to mean the acts

           24   of Defendants acting individually, jointly, and/or severally.

           25          5.      Plaintiff is informed and believes, and thereby alleges, that each of the Defendants

           26   herein was at all times the agent and/or employee of each of the remaining Defendants, and was

           27   at all times mentioned, acting within the course and scope of said agency and/or employment,

           28   and each Defendant was acting with the full knowledge and consent of his superior or principal,




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            1   and each such principal or superior at all times ratified and acquiesced in each and every act of

            2   each Defendant and agent thereof, and as such each Defendant bound the other by his act and

            3   deed. Further, each of the Defendants aided, abetted, incited, compelled, and/or coerced one

            4   another, and/or conspired with one another, to do the acts alleged herein.

            5           6.      Defendants Renewal and Andersen and DOES 1 through 10, collectively shall be

            6   referred to herein as “Defendants.”

            7                                                    VENUE

            8           7.      Venue is proper in the Superior Court of Orange County because the County of

            9   Orange, State of California, is where the conduct, acts, inaction, statements, or omissions

           10   complained of in this Complaint took place.

           11                                      GENERAL ALLEGATIONS

           12           8.      On or about June 1 1, 2018, Plaintiff began working for Renewal, as a full-time

     CL    13   Installation Partner, assisting with the completion of installation of windows. At all relevant


     1 14       times, Plaintiff was qualified for his position and perfonned his duties in a reasonably competent

           15   manner.

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           16           9.      Within approximately one year, Plaintiff received a pay raise and in August 2019

           17   was promoted to lead and earned another pay raise. On November 25, 2019, Plaintiff received

CO         18   another promotion, and another pay raise.

           19           10.     On December 10, 2019, Plaintiff suffered serious workplace injuries. He fell off a

           20   40-foot ladder and suffered injuries including a laceration to the forehead that required staples,

           21   musculo ligamentous strain of the cervical spine, shoulder injury, musculoligamentous strain of

           22   the lumbosacral spine, second-degree ankle sprain, and knee injury.

           23           11.     On or about the same day, Plaintiff began a leave of absence as a result of a

           24   workplace injury. Plaintiffs injuries to his forehead, ankle, back, and neck was a physical

           25   disability and serious health condition that limited Plaintiff s major life activities, including his

           26   ability to walk, lift, stand, bathe, and work.

           27           12.     Upon information and belief, in or around 2020, Andersen acquired the Renewal

           28   business where Plaintiff was employed and became Plaintiff s employer.




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            1          13.     On or about October 6, 2020, Dr. Luigi Galloni issued a Qualified Medical

            2   Evaluation (QME) Report finding that Plaintiff was “temporarily partially disabled” and placed

            3   Plaintiff on work restrictions of no lifting more than 20 pounds and no prolonged standing and

            4   walking.

            5          14.     Over three months later, on or about January 8, 2021, Plaintiff received a letter

            6   from Defendants on Andersen Windows & Doors letterhead indicating that the company had

            7   identified light duty work for him working in the paint shop with duties in line with his

            8   restrictions of no lifting more than 20 pounds and no prolonged standing and walking.

            9          15.     On or about January 18, 2021, Plaintiff returned to work in Defendants’ paint

           10   shop on modified duty.

           11          16.     At first, it seemed that Defendants were accommodating Plaintiffs disability and

           12   respecting his work restrictions. However, on or about March 1 1, 2021, management revealed

     CL    13   their true discriminatory intent. During a meeting with General Manager Charlie Gindele,
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     O     14   Plaintiff s supervisors Manuel Chavez and Primo, a human resources representative named Erin
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           15   told Plaintiff that the company could not have him sitting for 1 5 minutes every hour and if he

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           16   needed to do that, he had to clock out and go home.

           17          17.     On or about March 12, 2021, Plaintiff continued to sit for 15 minutes every hour

CO         18   in accordance with his work restrictions. In response, human resources representative Yuri told

           19   him he needed to clock out and go home.

           20          18.     Plaintiff submitted time off requests for the following two workdays due to his

           21   ankle injury and the company’s refusal to pennit him to sit for 15 minutes every hour. These

           22   time off requests were approved.

           23          19.     On or about March 17, 2021, Plaintiff attended a doctor’s appointment for

           24   treatment for his workplace injuries. During his appointment, he received a phone call from

           25   Renewal notifying him that he was fired.

           26          20.     Shortly thereafter, on or about March 18, 2021, Plaintiff submitted a written

           27   request for his personnel file. Defendants ignored Plaintiffs written request. On or about April

           28   12, 2021, Plaintiffs counsel sent a second written request for Plaintiff s personnel file and




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            1   payroll records by overnight delivery. Renewal finally produced the requested records on May

            2   20, 2021, over two months after Plaintiff made his written request.

            3          21.     Renewal fired Plaintiff on March 17, 2021 but did not give Plaintiff his final

            4   paycheck until March 24, 202 1 , over a week later.

            5          22.     On November 9, 2021, Plaintiff filed a complaint of discrimination and related

            6   claims against both Defendants with the Department of Fair Employment and Housing

            7   (“DFEH”), thereby exhausting his administrative remedies. On that same date, the DFEH issued

            8   Plaintiff a Right-to-Sue Notices. This action is filed within one year of all of Plaintiff s Right-to-

            9   Sue Notices.

           10                                      FIRST CAUSE OF ACTION

           11                            Disability Discrimination in Violation of FEHA

           12                                     Cal. Gov. Code § 12940 etseq.

     CL    13                                         (Against All Defendants)


     1 14              23.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           15   and every allegation contained in paragraphs 1 through 22, inclusive of this Complaint.

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           16          24.     Defendants is an employer in the State of California, as defined in the California

           17   Fair Employment and Housing Act (“FEHA”), Cal. Gov. Code § 12926.

CO         18          25.     At all relevant times herein, Plaintiff was an employee of Defendants within the

           19   meaning of Cal. Gov. Code § 12926. Defendants knew that Plaintiff had a physical disability,

           20   (laceration to the forehead that required staples, musculoligamentous strain of the cervical spine,

           21   shoulder injury, musculoligamentous strain of the lumbosacral spine, second-degree ankle

           22   sprain, and knee injury), that limited his major life activities, including his ability to work for a

           23   finite period of time, lift, stand, and walk. Plaintiff was able to perform the essential job duties

           24   with reasonable accommodations for his physical disability.

           25          26.      Defendants subjected Plaintiff to an adverse employment action when Defendants

           26   terminated Plaintiff. Plaintiffs physical disability was a substantial motivating reason for

           27   Defendants’ decision to terminate Plaintiff. Plaintiff was harmed. Defendants’ conduct was a

           28   substantial factor in causing Plaintiff s harm.




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            1            27.       As a direct and proximate result of Defendants’ willful, knowing, and intentional

            2   discrimination against him, Plaintiff has suffered and will continue to suffer pain and suffering,

            3   mental anguish, emotional distress, and personal injuries. Plaintiff is thereby entitled to general

            4   and compensatory damages in amounts to be proven at trial.

            5            28.       As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            6   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

            7   to general and compensatory damages in amounts to be proven at trial.

            8            29.       As a direct and proximate result of Defendants’ conduct, Plaintiff has further

            9   suffered and will continue to suffer a loss of earnings and other employment benefits and job

           10   opportunities. Plaintiff is thereby entitled to general and compensatory damages in amounts to be

           11   proven at trial.

           12            30.       As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

     CL    13   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the


     1 14       terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           15   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

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           16   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

           17   12925.

CO         18            31.       Plaintiff is informed and believes and based thereon alleges that the outrageous

           19   conduct of Defendants described above was done with malice, fraud and oppression and with

           20   conscious disregard for his rights, and with the intent, design, and purpose of injuring him. By

           21   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum

           22   according to proof at trial.

           23                                       SECOND CAUSE OF ACTION

           24                  Failure to Engage in the Interactive Process in Violation of FEHA

           25                                        Cal. Gov. Code § 12940 et seq.

           26                                           (Against All Defendants)

           27            32.       Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 31, inclusive of this Complaint.




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            1          33.     Defendants is an employer in the State of California, as defined in FEHA, Cal.

            2   Gov. Code § 12926.

            3          34.     At all relevant times herein, Plaintiff was an employee of Defendants within the

            4   meaning of Cal. Gov. Code § 12926.

            5          35.     At all relevant times, Plaintiff had a physical disability. Defendants knew that

            6   Plaintiff had a physical disability that limited his major life activities. With a reasonable

            7   accommodation, Plaintiff could perform the essential requirements of his job. Plaintiff was

            8   willing to participate in an interactive process to determine whether reasonable accommodation

            9   could be made so that Plaintiff would be able to perform the essential job requirements.

           10   Defendants failed to participate in a timely good-faith interactive process with Plaintiff to

           11   determine whether reasonable accommodation could be made. Plaintiff was harmed and

           12   Defendants’ failure to engage in a good-faith interactive process was a substantial factor in

     CL    13   causing Plaintiffs harm.


     1 14              36.     Plaintiff filed timely charges of failure to engage in the interactive process against

           15   Defendants with the DFEH, which issued right-to-sue notices to Plaintiff authorizing this
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           16   lawsuit. Plaintiff has therefore exhausted his administrative remedies.

           17          37.     As a direct and proximate result of Defendants’ willful, knowing, and intentional

CO         18   discrimination against him, Plaintiff has suffered and will continue to suffer pain and suffering,

           19   mental anguish, emotional distress, and personal injuries. Plaintiff is thereby entitled to general

           20   and compensatory damages in amounts to be proven at trial.

           21          38.     As a direct and proximate result of Defendants’ willful, knowing and intentional

           22   discrimination against him, Plaintiff has further suffered and will continue to suffer a loss of

           23   earnings and other employment damages in amounts to be proven at trial.

           24          39.     As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

           25   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the

           26   terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           27   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

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            1   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

            2   12925.

            3            40.    Plaintiff is informed and believes and based thereon alleges that the outrageous

            4   conduct of Defendants described above was done with malice, fraud and oppression and with

            5   conscious disregard for his rights, and with the intent, design, and purpose of injuring him. By

            6   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum

            7   according to proof at trial.

            8                                     THIRD CAUSE OF ACTION

            9                            Failure to Accommodate in Violation of FEHA

           10                                     Cal. Gov. Code § 12940 et seq.

           11                                         (Against All Defendants)

           12            41.    Plaintiff incorporates herein by reference, as though fully set forth herein, each

     CL    13   and every allegation contained in paragraphs 1 through 40, inclusive of this Complaint.
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     O     14            42.    Defendants is an employer in the State of California, as defined in the FEHA, Cal.
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           15   Gov. Code § 12926.

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           16            43.    At all relevant times herein, Plaintiff was an employee of Defendants within the

           17   meaning of Cal. Gov. Code § 12926. Plaintiff had a physical disability that limited his major life

CO         18   activities. Defendant knew that Plaintiff had a physical disability that limited his major life

           19   activities. Plaintiff was able to perform the essential job duties with reasonable accommodation

           20   for his physical disability.

           21            44.    Defendant failed to accommodate Plaintiff s disability in violation of FEHA as set

           22   forth above. Plaintiff was harmed and Defendants’ failure to provide reasonable accommodation

           23   was a substantial factor in causing Plaintiff s harm.

           24            45.    Plaintiff filed timely charges of failure to engage in the interactive process against

           25   Defendants with the DFEH, which issues right-to-sue notices to Plaintiff authorizing this lawsuit.

           26   Plaintiff has therefore exhausted his administrative remedies.

           27            46.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

           28   and will continue to suffer damages, including, but not limited to, lost past and future wages and




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            1   benefits and emotional distress, all in an amount to be determined at trial and in excess of the

            2   jurisdictional minimum of this court.

            3          47.     Plaintiff is informed and believes, and thereon alleges, that Defendant, by

            4   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

            5   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

            6   willful and conscious disregard of the rights, welfare and safety of Plaintiff.   Plaintiff should,

            7   therefore, be awarded exemplary and punitive damages against Defendant, and each of them, in

            8   an amount to be established that is appropriate to punish Defendant and deter others from

            9   engaging in such conduct.

           10                                    FOURTH CAUSE OF ACTION

           11            Failure to Prevent Discrimination and/or Retaliation in Violation of FEHA

           12                                     Cal. Gov. Code § 12940 etseq.

     CL    13                                         (Against All Defendants)


     1 14              48.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           15   and every allegation contained in paragraphs 1 through 47, inclusive of this Complaint.

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           16          49.     Defendants is an employer in the State of California, as defined in FEHA, Cal.

           17   Gov. Code § 12926.

CO         18          50.     At all relevant times herein, Plaintiff was an employee of Defendants within the

           19   meaning of Cal. Gov. Code § 12926.

           20          51.     Plaintiff was subjected to discrimination and/or retaliation in the course of

           21   employment in violation of the FEHA, Cal. Gov. Code § 12940, et seq. as set forth herein.

           22          52.     Under FEHA, Cal. Gov. Code § 1 2940(k), an employer must take all reasonable

           23   steps necessary to prevent discrimination from occurring.

           24          53.     Defendants, through their managing agents and supervisors, should have but did

           25   not take all reasonable steps necessary to prevent discrimination and/or retaliation from

           26   occurring. Plaintiff was harmed, and Defendants’ failure to take all reasonable steps to prevent

           27   the discrimination and/or retaliation was a substantial factor in causing Plaintiff s harm.

           28          54.     As a direct and proximate result of Defendants’ willful, knowing, and intentional




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            1   failure to prevent discrimination and retaliation against him, Plaintiff has suffered and will

            2   continue to suffer pain and suffering, mental anguish, emotional distress, and personal injuries.

            3   Plaintiff is thereby entitled to general and compensatory damages in amounts to be proven at

            4   trial.

            5            55.    As a direct and proximate result of Defendants’ willful, knowing and intentional

            6   retaliation against him, Plaintiff has further suffered and will continue to suffer a loss of earnings

            7   and other employment benefits and job opportunities. Plaintiff is thereby entitled to general and

            8   compensatory damages in amounts to be proven at trial.

            9            56.    As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

           10   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the

           11   terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           12   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

     CL    13   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §


     1 14       12965.

           15            57.    Plaintiff is informed and believes, and thereon alleges, that Defendants, by
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           16   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

           17   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

CO         18   willful and conscious disregard of the rights, welfare and safety of Plaintiff.   Plaintiff should,

           19   therefore, be awarded exemplary and punitive damages against Defendants, and each of them, in

           20   an amount to be established that is appropriate to punish Defendant and deter others from

           21   engaging in such conduct.

           22                                     FIFTH CAUSE OF ACTION

           23                  Retaliation for Requests for Accommodation in Violation of FEHA

           24                                     Cal. Gov. Code § 12940 et seq.

           25                                         (Against All Defendants)

           26            58.    Plaintiff incorporates herein by reference, as though fully set forth herein, each

           27   and every allegation contained in paragraphs 1 through 57, inclusive of this Complaint.

           28            59.    Defendants is an employer in the State of California, as defined in the FEHA, Cal.




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            1   Gov. Code § 12926.

            2            60.   Plaintiff engaged in protected activity when Plaintiff requested reasonable

            3   accommodations for his disability. Defendants terminated Plaintiff, and Plaintiff s request for

            4   reasonable accommodations was a substantial motivating reason for Defendants’ decision to

            5   terminate Plaintiff. Plaintiff was harmed, and Defendants’ decision to terminate Plaintiff was a

            6   substantial factor in causing Plaintiff harm.

            7            61.   As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            8   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

            9   to general and compensatory damages in amounts to be proven at trial.

           10            62.   As a direct and proximate result of Defendants’ violation of Cal. Gov. Code §

           11   12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the terms

           12   and conditions of his employment relationship with Defendants, and has thereby incurred, and

     CL    13   will continue to incur, legal fees and costs, the full nature and extent of which are presently


     1 14       unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

           15   12965.
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           16            63.   Plaintiff is informed and believes, and thereon alleges, that Defendants, by

           17   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

CO         18   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

           19   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

           20   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

           21   established that is appropriate to punish Defendants and deter others from engaging in such

           22   conduct.

           23                                     SIXTH CAUSE OF ACTION

           24                           CFRA Rights Retaliation in Violation of FEHA

           25                                     Cal. Gov. Code § 12940 et seq.

           26                                         (Against All Defendants)

           27            64.   Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 63, inclusive of this Complaint.




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            1            65.   Plaintiff was eligible for medical leave and requested medical leave. Plaintiff has

            2   worked for Defendants for over one year and has worked at least 1,250 hours of service in the

            3   past year. Defendants has over 5 employees working within a 75-mile radius.

            4            66.   Plaintiff s request for and taking of medical leave was a substantial motivating

            5   reason for Defendants’ wrongful termination of Plaintiff.

            6            67.   Plaintiff was harmed, and Defendants’ retaliatory conduct was a substantial factor

            7   in causing Plaintiff s harm.

            8            68.   As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            9   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

           10   to general and compensatory damages in amounts to be proven at trial.

           11            69.   As a direct and proximate result of Defendants’ violation of Cal. Gov. Code §

           12   12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the terms

     CL    13   and conditions of his employment relationship with Defendants, and has thereby incurred, and


     1 14       will continue to incur, legal fees and costs, the full nature and extent of which are presently

           15   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §
     <
           16   12965.

           17            70.   Plaintiff is informed and believes, and thereon alleges, that Defendants, by

CO         18   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

           19   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

           20   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

           21   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

           22   established that is appropriate to punish Defendants and deter others from engaging in such

           23   conduct.

           24                                   SEVENTH CAUSE OF ACTION

           25                                   Violation of Labor Code § 1198.5

           26                                         (Against All Defendants)

           27            71.   Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 70, inclusive of this Complaint.




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            1          72.     California Labor Code § 1 198.5 requires an employer to allow inspection and

            2   copying of personnel file records within 30 days of a written request. The section provides for

            3   $750 penalty payable to the employee for violation and allows an employee to sue for injunctive

            4   relief and obtain an award of costs and attorneys’ fees.

            5          73.     Plaintiff submitted a written request for his personnel file records to Human

            6   Resources representative Yuri on or about March 18, 2021.

            7          74.     Defendants did not provide Plaintiff with a copy of his personnel file within 30

            8   days of a written request for the same.

            9          75.     As a proximate result, Plaintiff has suffered injury as articulated under the

           10   California Labor Code.

           11          76.     Plaintiff seeks an award of the statutory penalty, and order/inj unction compelling

           12   compliance, and reasonable attorneys’ fees and costs.

     CL    13                                    EIGHTH CAUSE OF ACTION
     Z>
     O     14                            Failure to Pay Wages - Waiting Time Penalties
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           15                                         (Against All Defendants)

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           16          77.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           17   and every allegation contained in paragraphs 1 through 76, inclusive of this Complaint.

CO         18          78.     At all times herein set forth, California Labor Code §§201 and 202 provide that if

           19   an employer discharges an employee, the wages earned and unpaid at the time of discharge are

           20   due and payable immediately.

           21          79.     Defendants terminated Plaintiff s employment on March 1 7, 202 1 . However,

           22   Defendants failed to pay Plaintiff all wages required to be paid by California Labor Code

           23   sections 201 and 202 at the time of discharge. Defendants did not pay Plaintiff his final wages

           24   until on or about March 24, 202 1 .

           25          80.     Defendants’ failure to pay Plaintiff his wages earned and unpaid at the time of

           26   discharge is in violation of California Labor Code §§201 and 202.

           27          81.     California Labor Code § 203 provides that if an employer willfully fails to pay

           28   wages owed, in accordance with sections 201 and 202, then the wages of the employee shall




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            1   continue as a penalty wage from the due date, and at the same rate until paid or until an action is

            2   commenced; but the wages shall not continue for more than thirty (30) days.

            3           82.        Plaintiff is entitled to recover from Defendants his additionally accruing wages

            4   for each day he was not paid, at his regular hourly rate of pay, up to 30 days maximum pursuant

            5   to California Labor Code § 203.

            6           83.        Pursuant to California Labor Code §§ 218.5, 218.6 and 1194, Plaintiff is entitled

            7   to an award of reasonable attorneys’ fees, interest, expenses, and costs incurred in this action.

            8                                        NINTH CAUSE OF ACTION

            9                            Wrongful Termination in Violation of Public Policy

           10                                            (Against All Defendants)

           11           84.        Plaintiff incorporates herein by reference, as though fully set forth herein, each

           12   and every allegation contained in paragraphs 1 through 83, inclusive of this Complaint.

     CL    13           85.        At all relevant times herein, Plaintiff was employed by Defendants.
     Z>
     o     14           86.        On or about March 17, 2021, Defendants terminated Plaintiff.
     cc
     U
           15           87.        Plaintiff is informed and believes that Plaintiff s request for a reasonable

     <
           16   accommodation, Plaintiff s CFRA leave, and Plaintiff s disability, were each a substantial

           17   motivating reason for Plaintiff s discharge in violation of FEHA, Gov. Code § 12900 et seq.

ID         18   Plaintiff was harmed, and Defendants’ conduct was a substantial factor in causing Plaintiffs

           19   harm.

           20           88.        It is the public policy of the State of California, as expressed in FEHA, that

           21   employees shall not be terminated because of their disabilities and/or requests for reasonable

           22   accommodations of disabilities.

           23           89.        By the aforesaid acts and omissions of Defendants, Plaintiff has been directly and

           24   legally caused to suffer actual damages including, but not limited to, loss of earnings, reliance

           25   damages, costs of suit and other pecuniary loss in an amount not presently ascertained, but to be

           26   proven at trial.

           27

           28




                                                                     15
                                                              COMPLAINT
          Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 24 of 59 Page ID #:36




            1          90.     As a direct and proximate result of Defendants’ willful, knowing, and intentional

            2   retaliation, Plaintiff has suffered and will continue to suffer emotional distress and other

            3   employment benefits and job opportunities in an amount to be determined at trial.

            4          91.     Plaintiff is informed and believes, and thereon alleges, that Defendants, by

            5   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

            6   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

            7   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

            8   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

            9   established that is appropriate to punish Defendants and deter others from engaging in such

           10   conduct.

           11                                        PRAYER FOR RELIEF

           12          WHEREFORE, Plaintiff prays judgment be entered in his favor and against Defendants,

     CL    13   each of them, as follows:


     1 14               1.     For general and special damages in an amount according to proof;

           15          2.      For compensatory damages in an amount according to proof;
     <
           16          3.      For punitive damages in an amount according to proof;

           17          4.      For reasonable costs of suit incurred;

CO         18          5.      For pre -judgment interest and post-judgment interest on all damages awarded;

           19          6.      For statutory penalties under the Labor Code;

           20          7.      For reasonable attorney’s fees and costs pursuant to statute, including but not

           21   limited to Gov. Code § 12965(b) according to proof; and

           22          8.      For such other and further relief as the Court may deem just and proper.

           23

           24   Dated: November 19, 2021                               STALWART LAW GROUP

           25

           26                                                       By:
                                                                    JI-IN LfcE HOUCk
           27                                                          DAVID ANGELOFF
                                                                    CINDY HICKOX
           28                                                       Attorney for Plaintiff AD ALBERTO
                                                                    OROPEZA


                                                                  16
                                                           COMPLAINT
          Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 25 of 59 Page ID #:37




            1                                DEMAND FOR JURY TRIAL

            2          Plaintiff ADALBERTO OROPEZA hereby demands trial by jury on all issues so triable

            3   in the Complaint.

            4

            5   Dated: November 19, 2021
                                                                STALWART LAW GROUP
            6

            7
                                                             By:

            8                                                Jl-IN LEETJOIKK (
                                                             DAVID ANGELOFF
            9                                                CINDY HICKOX
                                                             Attorney for Plaintiff AD ALBERTO
           10
                                                             OROPEZA
           11

           12

     CL    13
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     o     14
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CO         18

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                                                      COMPLAINT
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 26 of 59 Page ID #:38




                                 SUPERIOR COURT OF CALIFORNIA
                                         COUNTY OF ORANGE


                       ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE



    NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):


    Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the ADR
    Information Package along with the complaint and/or cross-complaint


                                   California Rules of Court - Rule 3.221
                           Information about Alternative Dispute Resolution (ADR)


    (a) Each court shall make available to the plaintiff, at the time of filing of the complaint, an
    ADR Information Package that includes, at a minimum, all of the following:


       (1) General information about the potential advantages and disadvantages of ADR and
       descriptions of the principal ADR processes.


       (2) Information about the ADR programs available in that court, including citations to any
       applicable local court rules and directions for contacting any court staff responsible for
       providing parties with assistance regarding ADR.


       (3) Information about the availability of local dispute resolution programs funded under the
       Dispute Resolutions Program Act (DRPA), in counties that are participating in the DRPA.
       This information may take the form of a list of the applicable programs or directions for
       contacting the county’s DRPA coordinator.


       (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR process.


    (b) A court may make the ADR Information Package available on its Web site as long as paper
    copies are also made available in the clerk’s office.


    (c) The plaintiff must serve a copy of the ADR Information Package on each defendant along
    with the complaint. Cross-complainants must serve a copy of the ADR Information Package on
    any new parties to the action along with the cross-complaint.




       L1200(Rev. April 2013)                                                          Page 1 of 4
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 27 of 59 Page ID #:39




                                        SUPERIOR COURT OF CALIFORNIA
                                             COUNTY OF ORANGE

                                                    ADR Information

    Introduction.


    Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
    The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
    resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
    a trial. ADR can also give people more opportunity to determine when and how their dispute will be
    resolved.


    BENEFITS OF ADR.


    Using ADR may have a variety of benefits, depending on the type of ADR process used and the
    circumstances of the particular case. Some potential benefits of ADR are summarized below.

    Save Time.      A dispute often can be settled or decided much sooner with ADR; often in a matter of
    months, even weeks, while bringing a lawsuit to trial can take a year or more.


    Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
    they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.


    Increase Control Over the Process and the Outcome.                In ADR, parties typically play a greater role in
    shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
    their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
    fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
    allow the parties to choose an expert in a particular field to decide the dispute.


    Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
    example, an experienced mediator can help the parties effectively communicate their needs and point of
    view to the other side. This can be an important advantage where the parties have a relationship to
    preserve.



    Increase Satisfaction.          In a trial, there is typically a winner and a loser. The loser is not likely to be
    happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
    find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
    advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
    outcome.


    Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
    problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
    produce happier clients and thus generate repeat business from clients and referrals of their friends and
    associates.


    DISADVANTAGES OF ADR.


    ADR may not be suitable for every dispute.


    Loss of protections.          If ADR is binding, the parties normally give up most court protections, including a
    decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
    appellate court.



        L1200 (Rev. April 2013)                                                                         Page 2 of 4
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 28 of 59 Page ID #:40




    Less discovery.       There generally is less opportunity to find out about the other side’s case with ADR
    than with litigation.   ADR may not be effective if it takes place before the parties have sufficient
    information to resolve the dispute.


    Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
    through ADR, the parties may have to put time and money into both ADR and a lawsuit


    Effect of delays if the dispute Is not resolved. Lawsuits must be brought within specified periods of
    time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
    a dispute is in an ADR process.


    TYPES OF ADR IN CIVIL CASES.


    The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
    conferences.


    Arbitration.    In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
    each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
    of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
    means that the parties waive their right to a trial and agree to accept the arbitrator’s decision as final.
    Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
    parties are free to request a trial if they do not accept the arbitrator’s decision.


        Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
        want another person to decide the outcome of their dispute for them but would like to avoid the
        formality, time, and expense of a trial. It may also be appropriate for complex matters where the
        parties want a decision-maker who has training or experience in the subject matter of the dispute.


        Cases for Which Arbitration May Not Be Appropriate.            If parties want to retain control over how
        their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
        arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
        evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
        more favorable result at trial than in arbitration, there may be penalties.


    Mediation. In mediation, an impartial person called a "mediator" helps the parties try to reach a mutually
    acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
    communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
    with the parties.


        Cases for Which Mediation May Be Appropriate.             Mediation may be particularly useful when
        parties have a relationship they want to preserve. So when family members, neighbors, or business
        partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
        emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
        them communicate with each other in an effective and nondestructive manner.


        Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
        parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
        parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
        the parties have a history of abuse or victimization.


    Neutral Evaluation.       In neutral evaluation, each party gets a chance to present the case to a neutral
    person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
    each party's evidence and arguments and about how the dispute could be resolved. The evaluator is




        L12Q0 (Rev. April 2013)                                                                      Page 3 of 4
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 29 of 59 Page ID #:41




    often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
    parties typically use It as a basis for trying to negotiate a resolution of the dispute.


        Cases for Which Neutral Evaluation May Be Appropriate.                Neutral evaluation may be most
        appropriate in cases in which there are technical issues that require special expertise to resolve or
        the only significant issue in the case is the amount of damages.


        Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
        appropriate when there are significant personal or emotional barriers to resolving the dispute.


    Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
    of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
    "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
    not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
    case and in negotiating a settlement. Settlement conferences are appropriate in any case where
    settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
    for trial.


    ADDITIONAL INFORMATION.

    In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
    of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
    a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
    likely to resolve your dispute.

    To locate a dispute resolution program or neutral in your community:
        •   Contact the California Department of Consumer Affairs, Consumer Information Center, toll free,
            1-800-852-5210
        •   Contact the Orange County Bar Association at (949) 440-6700
        •   Look in the telephone directories under “Arbitrators" or “Mediators”


    Free mediation services are provided under the Orange County Dispute Resolution Program Act (DRPA)
    For information regarding DRPA, contact:
        •   Community Service Programs, Inc. (949) 250-4058
        •   Orange County Human Relations (714) 834-7198


    For information on the Superior Court of California, County of Orange court ordered arbitration program,
    refer to Local Rule 360.


    The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
    (ENE). For the Civil Mediation program, mediators on the Court’s panel have agreed to accept a fee of
    $300 for up to the first two hours of a mediation session. For the ENE program, members of the Court’s
    panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
    information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
    programs is available on the Court’s website at www.occourts.org.




        L1200 (Rev. April 2013)                                                                     Page 4 of 4
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 30 of 59 Page ID #:42




 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                               FOR COURT USE ONLY




 Telephone No.:                                    Fax No. (Optional):
 E-Mail Address (Optional):
 ATTORNEY FOR (Name):                                         Bar No:


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 JUSTICE CENTER:
   Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
   Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512
   Harbor-Laguna Hills Facility -23141 Moulton Pkwy., Laguna Hills, CA 92653-1251
   Harbor - Newport Beach Facility - 4601 Jamboree Rd., Newport Beach, CA 92660-2595
   North - 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
   West - 8141 13,h Street, Westminster, CA 92683-0500


  PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT:

                                                                                             CASE NUMBER:
 ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


 Plaintiff(s)/Petitioner(s),.




 and defendant(s)/respondent(s),




 agree to the following dispute resolution process:

      Mediation

     Arbitration (must specify code)
                         Under section 1 1 41 .1 1 of the Code of Civil Procedure
                         Under section 1280 of the Code of Civil Procedure

      Neutral Case Evaluation

 The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
 was referred, whichever is sooner.


     I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to provide
 pro bono services.


     The ADR Neutral Selection and Party List is attached to this Stipulation.

 We understand that there may be a charge for services provided by neutrals. We understand that participating in
 an ADR process does not extend the time periods specified in California Rules of Court rule 3.720 et seq.


 Date:
                                 (SIGNATURE OF PLAINTIFF OR ATTORNEY)               (SIGNATURE OF PLAINTIFF OR ATTORNEY)


 Date:
                                 (SIGNATURE OF DEFENDANT OR ATTORNEY)               (SIGNATURE OF DEFENDANT OR ATTORNEY)




                       ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
 Approved for Optional Use                                                                     California Rules of Court, rule 3.221
 L1270 (Rev. January 2010)
Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 31 of 59 Page ID #:43
  Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 32 of 59 Page ID #:44


                                                             <*J Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                     Tue, Nov 30, 2021


Server Name:              Carlos Canas




Entity Served             LOS ANGELES CUSTOM WINDOWS, INC.


Case Number               30-2021-01232832-CU-WT-CJC


Jurisdiction              CA




 122554-466685-944082
               Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
      Case 8:21-cv-02126-DOC-KES                Document 1-1 Filed 12/29/21 Page 33 of 59 Page ID #:45
30-2021 -01 232832-CU-WT-CJC - ROA # 4 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy Clerk.
                                                                                                               SUM-100

                                               SUMMONS                                                                       FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                      (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
  LOS ANGELES CUSTOM WINDOWS, INC. d/b/a RENEWAL BY ANDERSEN OF
  ORANGE COUNTY, a Delaware corporation; ANDERSEN WINDOWS, INC., a
  Minnesota corporation; and DOES 1 through 10, inclusive,

  YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANTE):

   ADALBERTO OROPEZA, an individual,



   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.coudinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
   (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la information a
   continuation.
      Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citation y papeles legales para presentar una respuesta por escrito en esta
   code y hacer que se entregue una copia al demandante. Una cada o una Hamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
   en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
   Puede encontrar estos formularios de la code y mas information en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
   biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentation, pida al secretario de la code
   que le de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
   podra quitar su sueldo, dinero y bienes sin mas advedencia.
     Hay otros requisites legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
   remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servitios legales gratuitos de un
   programa de servitios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
   colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
   cualquier recuperation de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la code antes de que la code pueda desechar el caso.

  The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                            (Numero del Caso):
                                                                                                                                 Judge David A. Hoffer
  (El nombre y direccidn de la code es): Central Justice Center
  700 Civic Center Drive West
                                                                                                                  30-202 1-0 123 2832 -CU-WT-CJC                      J
  Santa Ana, CA 9270 1
  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direction y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
  Cindy Hickox; Stalwart Law Group; 1 100 Glendon Ave. Suite 1840, Los Angeles, CA 90024; 310-954-2000

  DATE.         11/19/2021
                11/19/2021
                                     DAVID H. YAMASAKI. Clerk efthe Court
                                     DAVID H. YAMASAKI. Clerk of the Court
                                                                                              ,   W.                                                      'roTT ,
  (Fecha)                                                                          (Secretario)                                                            (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
                                                                                                                             Hailey McMaster
  (Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1. |      | as an individual defendant.
                                          2. |      | as the person sued under the fictitious name of (specify):


    $                                        ...
                                              X
                                          3. ULJ
                                                    ,,,,,,            , Los Anqeles Custom Windows, Inc. d/b/a Renewal by Andersen of Grange
                                                 on behalf of (specriy): County a De|aware corporation

                                                 under; I X I CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                ”f". !!,n7-S'
                                                       |    |   CCP 416.20 (defunct corporation)                       CCP 416.70 (conservatee)
                                 /                     |    |   CCP 416.40 (association or partnership)                CCP 416.90 (authorized person)

                                                       I    |   other (specify):
                                          4.          by personal delivery on (date):
                                                                                                                                                             Page 1 of 1
   Form Adopted for Mandatory Use
                                                                             SUMMONS                                               Code of Civil Procedure §§ 412.20, 465
    Judicial Council of California                                                                                                                  www. courtinfo, ca.gov
    SUM-100 [Rev. July 1,2009]
    Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 34 of 59 Page ID #:46
                                                                                                     FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE

MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                                        FILED
                                                                                                SUPERIOR COURT OF CALIFORNIA
CITY AND ZIP CODE: Santa Ana 92701                                                                   COUNTY OF 0RAN(3E

BRANCH NAME: Central Justice Center
PLANTIFF: Adalberto Oropeza

                                                                                                    Nov 23, 2021
DEFENDANT: Los Angeles Custom Windows, Inc. et.al.
                                                                                                       Clerk of the Court
                                                                                                  By: Hailey McMaster, Deputy
Short Title: OROPEZA VS. LOS ANGELES CUSTOM WINDOWS, INC.




                                                                                        CASE NUMBER:
                                NOTICE OF HEARING                                        30-2021 -01 232832-CU-WT-CJC
                      CASE MANAGEMENT CONFERENCE




  Please take notice that a(n), Case Management Conference has been scheduled for hearing

  on 05/03/2022 at 09:00:00 AM in Department C42 of this court, located at Central Justice

  Center.


  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
 that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.




    IMPORTANT: Prior to your hearing date, please check the Court's website for the most current instructions
    regarding how to appear for your hearing and access services that are available to answer your questions.
    Civil Matters - https 'J!www . oc c ourts . org/me dia -re la tions/c ivil . html
    Probate/Mental Health - https ?/www .occoiuls org/media-relations/probate-mental-health.html



    IM PORTANTE: Antes de la fecha de su audiencia, visite el sitio web de la Corte para saber cuales son las
    instrucciones mas actuates para participar en la audiencia y tener acceso a los servicios disponibles para
    responder a sus preguntas.
    Casos Civiles - https 7/www . oc c ourts . org/me dia-re la tions/c ivil. html
    Casos de Probate y Salud Mental - https://www.occourts.org/media-relations/probate-mental-health.html



    QUAN TRONG: Trade ngay phien tda cua quy vi, vui long kiem tra trang mang cua tda an de biet nhung
    hudng dan mol nhat ve each ra hau phien tda cua quy vi va tiep can nhung dich vu hien co de gial dap nhung
    thac mac cua quy vi.
    Van De Dan Su - https y/www.oc courts .orgmedia-relationsZcivil.html
    Thu Tuc Di Chuc/Suc Khde Tinli Than - https //www . oc c ourts . org/me dia -re la tions/probate -menta l-he alth. html




                                             Clerk of the Court,           By:
                                                                                 97 .                                           , Deputy




                                                                                                                                 Page: 1
                                                         NOTICE OF HEARING
     Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 35 of 59 Page ID #:47

    SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701



   SHORT TITLE: OROPEZA VS. LOS ANGELES CUSTOM WINDOWS, INC.




                                                                                                CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                        30-2021 -01 232832-CU-WT-CJC



      I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
      placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
      pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
      California, on 1 1/23/2021. Following standard court practice the mailing will occur at Sacramento, California on
      11/24/2021.




                                                                      9V.
                                            Clerk of the Court, by:                                                          , Deputy

     STALWART LAW GROUP
     1100 GLENDON AVENUE# 1840
     LOS ANGELES, CA 90024




                                                                                                                                   Page: 2
                                       CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                     Code of Civil Procedure , § CCP1013(a)
                    Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
              Case 8:21-cv-02126-DOC-KES             Document 1-1 Filed 12/29/21 Page
30-9091 -01 232R39-CI.I-WT-C.IC - ROA # 3 - DAVID H YAMASAKI. Clerk nf the Coil
                                                                                                   36 ofMcMaster
                                                                                            ~t Ry Hailey 59 Page    ID #:48
                                                                                                                 Deputy (CHVHQ10
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar number, and address):                                                                             FOR COURT USE ONLY
  - Ji-In Lee Houck (SBN 280088); Cindy Hickox (SBN 323016)
    STALWART LAW GROUP, APC; 1 100 Glendon Avenue, Suite 1840, Los Angeles,
        CA 90024; MAILING ADDRESS: 8605 Santa Monica Blvd., PMB 72538, West
        Hollywood, CA 90069
        TELEPHONE NO: 310-954-2000               FAX NO.. 310-943-0303
   attorney for (Name). Plaintiff Adalberto Oropeza
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                             Orange
              street address: 700 Civic Center Drive West
              mailing address: 700 Civic Center Drive West
             city and zip code: Sarita Ana 9270 1
                      BRANCH NAME:    Central Justice Center
       CASE NAME:

       Oropeza v. Los Angeles Custom Windows, Inc., et al.
                                                                                                                                         CASE NUMBER:
              CIVIL CASE COVER SHEET                                                    Complex Case Designation
  I / I Unlimited                            E     Limited                                                                              .30-2021-012328 32-CU -WT-CJ C
                  (Amount                          (Amount
                                                                                 I      I Counter          I     I Joinder
                                                                                                                                         judqe:     judge       David A.        Hoffer
                  demanded                         demanded is                   Filed with first appearance by defendant
                  exceeds $25,000)                 $25,000 or less)                     (Cal. Rules of Court, rule 3.402)                 DEPT:

                                                       Items 1-6 below must be completed (see instructions on page 2).
  1 . Check one box below for the case type that best describes this case:
         Auto Tort                                                          Contract                                          Provisionally Complex Civil Litigation

         EZ Auto (22)                                                       I        I Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)

         I            I Uninsured motorist (46)                             I        I Rule 3.740 collections (09)             i   _1   Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property                           LJ Other collections (09)                          I   ~l   Construction defect (10)
         Damage/Wrongful Death) Tort                                        I.       I Insurance coverage (18)                 !   J    Mass tort (40)
         I        ~l Asbestos (04)                                          I        I Other contract (37)                     I    I   Securities litigation (28)
         I         I Product liability (24)                                 Real Property                                     I     I   Environmental/Toxic tort (30)
         I            I Medical malpractice (45)                            |        ] Eminent domain/lnverse                 I     I   Insurance coverage claims arising from the
         EZ Other PI/PD/WD (23)                                                         condemnation (14)                               above listed provisionally complex case
                                                                                                                                        types (41)
           Non-PI/PD/WD (Other) Tort                        I 1 Wrongful eviction (33)
              1 Business tort/unfair business practice (07) I   I Other real property (26)                                    Enforcement of Judgment

         I I Civil rights (08)                              Unlawful Detainer                                                 I     I Enforcement of judgment (20)
         I I Defamation (13)                                I 1 Commercial (31)                                               Miscellaneous Civil Complaint
         EZ Fraud (16)                                      I J Residential (32)                                               LZ RICO (27)
         I J Intellectual property (19)                     I I Drugs (38)                                                    I     I Other complaint (not specified above) (42)
         I 1 Professional negligence (25)                   Judicial Review
                                                                                                                              Miscellaneous Civil Petition
         I    I Other non-PI/PD/WD tort (35)                I I Asset forfeiture (05)                                         I     I Partnership and corporate governance (21 )
             Employment                                                     I        I Petition re: arbitration award (11)    I     I Other petition (not specified above) (43)
         I / I Wrongful termination (36)                                    I        J Writ of mandate (02)
     | 1 Other employment ( 1 5)                                            I         ] Other judicial review (39)
  2. This case I   I is    I / I is not                             complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:

             a.   I      I Large number of separately represented parties                           d. I       I Large number of witnesses
             b.   I      I Extensive motion practice raising difficult or novel                     e. I       I Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                                        in other counties, states, or countries, or in a federal court

             C.   I      I Substantial amount of documentary evidence                               f. I       I Substantial postjudgment judicial supervision
  3.         Remedies sought (check all that apply): a.|                         | monetary        b.|     | nonmonetary; declaratory or injunctive relief                    c- 1 / I punitive
  4.         Number of causes of action (specify): Nine (9)
  5.         This case                  is        /    is not       a class action suit.
  6.         If there are any known related cases, file and serve a notice of related case. (You may use form
                                                                                                          orm CM-01 5.)

 Date: November 19, 2021                                                                                                           Z7
 Cindy Hickox
                                             (TYPE OR PRINT NAME)                                                            (SIGNATORE..0F PARTY^OR ATTORNEY FOR PARTY)
                                                                                                  NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

  Form Adopted for Mandatory Use                                                CIVII    PAQF COVER QHFFT                                   Cal. Rules of Court, rules 2.30, 3.220. 3.400-3.403, 3.740;
       Judicial Council of California                                                                    v trv on ut i                              Cal. Standards of Judicial Administration, std. 3.10
       CM-01 0 [Rev. July 1 , 2007]                                                                                                                                               www.courtinfo.ca.gov
       Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 37 of 59 Page ID #:49
                                                                                                                                                   CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers.               If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1 . This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet.                    In item 1, you must check
one box for the case type that best describes the case.             If the case fits both a general and a more specific type of case listed in item 1 ,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases.                A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment.         The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading.                       A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases.                 In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                                 CASE TYPES AND EXAMPLES
Auto Tort                                               Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property                     Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                                Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                               Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                                   or wrongful eviction)                   Claims Involving Mass Tort (40)
           motorist claim subject to                            Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                                     Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                     Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                                 Other Breach of Contract/Warranty                   case type listed above) (41 )
Tort                                                        Collections (e.g., money owed, open              Enforcement of Judgment
       Asbestos (04)                                            book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                              Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections                        County)
           Asbestos Personal Injury/
                                                                    Case                                             Confession of Judgment (non
                Wrongful Death
                                                            Insurance Coverage (not provisionally                        domestic relations)
       Product Liability (not asbestos or
                                                                complex) (18)                                        Sister State Judgment
           toxic/environmental) (24)
       Medical Malpractice (45)                                 Auto Subrogation                                     Administrative Agency Award
           Medical Malpractice-                                 Other Coverage                                          (not unpaid taxes)
                   Physicians & Surgeons                    Other Contract (37)                                      Petition/Certification of Entry of
                                                                                                                        Judgment on Unpaid Taxes
           Other Professional Health Care                       Contractual Fraud
                                                                Other Contract Dispute                               Other Enforcement of Judgment
                   Malpractice
                                                                                                                         Case
       Other PI/PD/WD (23)                              Real Property
                                                            Eminent Domain/lnverse                           Miscellaneous Civil Complaint
           Premises Liability (e.g., slip
                                                                Condemnation (14)                               RICO (27)
                and fall)
                                                            Wrongful Eviction (33)                               Other Complaint (not specified
           Intentional Bodily Injury/PD/WD
                                                                                                                     above) (42)
                (e.g., assault, vandalism)                  Other Real Property (e.g., quiet title) (26)
                                                                                                                     Declaratory Relief Only
           Intentional Infliction of                            Writ of Possession of Real Property
                                                                                                                     Injunctive Relief Only (non
                Emotional Distress                              Mortgage Foreclosure
                                                                                                                          harassment)
           Negligent Infliction of                              Quiet Title
                                                                                                                     Mechanics Lien
                   Emotional Distress                           Other Real Property (not eminent
                                                                                                                     Other Commercial Complaint
           Other PI/PD/WD                                       domain, landlord/tenant, or
                                                                                                                         Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                      foreclosure)
                                                                                                                     Other Civil Complaint
       Business Tort/Unfair Business                    Unlawful Detainer
                                                                                                                         (non-tort/non-complex)
          Practice (07)                                     Commercial (31)
                                                                                                             Miscellaneous Civil Petition
       Civil Rights (e.g., discrimination,                  Residential (32)                                    Partnership and Corporate
           false arrest) (not civil                         Drugs (38) (if the case involves illegal                 Governance (21)
           harassment) (08)                                     drugs, check this item; otherwise,               Other Petition (not specified
       Defamation (e.g., slander, libel)                        report as Commercial or Residential)                 above) (43)
            (13)                                        Judicial Review                                              Civil Harassment
       Fraud (16)                                           Asset Forfeiture (05)                                    Workplace Violence
       Intellectual Property (19)                           Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
       Professional Negligence (25)                         Writ of Mandate (02)                                          Abuse
           Legal Malpractice                                    Writ-Administrative Mandamus
                                                                                                                     Election Contest
           Other Professional Malpractice                       Writ-Mandamus on Limited Court
                                                                                                                     Petition for Name Change
                (not medical or legal)                              Case Matter                                      Petition for Relief From Late
       Other Non-PI/PD/WD Tort (35)                             Writ-Other Limited Court Case                            Claim
Employment                                                          Review                                           Other Civil Petition
   Wrongful Termination (36)
                                                            Other Judicial Review (39)
       Other Employment (15)                                    Review of Health Officer Order
                                                                Notice of Appeal-Labor
                                                                   Commissioner Appeals
CM-010 [Rev. July 1,2007]                                                                                                                            Page 2 of 2
                                                            CIVIL CASE COVER SHEET
              Electronically Filed by Superior Court of California, County of Orange, 11/19/2021 04:41:12 PM.
          Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 38 of 59 Page ID #:50
 30-2021-012 2832-CU-WT-CJC - ROA# 2 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy Clerc




                Ji-ln Lee Houck (SBN 280088)
            1
                jiin@stalwartlaw.com
            2   David Angeloff (SBN 272929)
                david@stalwartlaw. com
            3   Cindy Hickox (SBN 323016)
                cindy@stalwartlaw. com
            4
                STALWART LAW GROUP
            5   MAILING ADDRESS:
                8605 Santa Monica Blvd., PMB 72538
            6   West Hollywood, CA 90069
                PHYSICAL ADDRESS:
            7
                1 100 Glendon Ave., Suite 1840
            8   Los Angeles, CA 90024
                Telephone:   (310)954-2000
            9
                Attorneys for Plaintiff ADALBERTO OROPEZA
           10

           11                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

           12                                FOR THE COUNTY OF ORANGE            Assigned for All Purposes

                                                                                   Judge David A. H offer
     CL    13
     Z>
                ADALBERTO OROPEZA, an individual,           Case No.: 30-2021-0 1232832-CU -WT-CJ C
     O     14
     cc
     u
                              Plaintiff,                    COMPLAINT FOR:
           15
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           16          vs.                                  (1) DISABILITY DISCRIMINATION IN
                                                            VIOLATION OF THE FAIR
           17   LOS ANGELES CUSTOM WINDOWS, INC.            EMPLOYMENT AND HOUSING ACT
                d/b/a RENEWAL BY ANDERSEN OF                (“FEHA”);
CO         18
                ORANGE COUNTY, a Delaware corporation;
           19   ANDERSEN WINDOWS, INC., a Minnesota         (2) FAILURE TO ENGAGE IN THE
                corporation; and DOES 1 through 10,         INTERACTIVE PROCESS IN
           20
                inclusive,                                  VIOLATION OF FEHA;
           21
                              Defendants.                   (3) FAILURE TO ACCOMMODATE IN
           22                                               VIOLATION OF FEHA;

           23
                                                            (4) FAILURE TO PREVENT
           24                                               DISCRIMINATION AND/OR
                                                            RETALIATION IN VIOLATION OF
           25                                               FEHA;

           26
                                                            (5) RETALIATION FOR REQUESTS FOR
           27                                               ACCOMMODATION IN VIOLATION OF
                                                            FEHA;
           28




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                                                      COMPLAINT
          Case 8:21-cv-02126-DOC-KES Document 1-1 Filed 12/29/21 Page 39 of 59 Page ID #:51




                                                     (6) RETALIATION IN VIOLATION OF
            1
                                                     CALIFORNIA FAMILY RIGHTS ACT
            2                                        (“CFRA”);

            3                                        (7) FAILURE TO PROVIDE PERSONNEL
                                                     FILE IN VIOLATION OF LABOR CODE §
            4
                                                     1198.5;
            5
                                                     (8) FAILURE TO TIMELY PAY FINAL
            6                                        WAGES AT TERMINATION IN
                                                     VIOLATION OF LABOR CODE §§ 201-
            7
                                                     202; AND
            8
                                                     (9) WRONGFUL TERMINATION IN
            9                                        VIOLATION OF PUBLIC POLICY

           10
                                                     DEMAND FOR JURY TRIAL
           11

           12

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                                               COMPLAINT
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            1          Plaintiff ADALBERTO OROPEZA (hereinafter referred to as “Plaintiff’ or

            2   “OROPEZA”) alleges as follows for his Complaint:

            3                                            THE PARTIES

            4          1.      Plaintiff is an individual, who at all relevant times was and is a resident of Brea,

            5   California, in the County of Orange.

            6          2.      Defendant Los Angeles Custom Windows, Inc. d/b/a Renewal by Andersen of

            7   Orange County (hereinafter referred to as “Renewal”) is a Delaware corporation headquartered at

            8   551 Main Street N, Bayport, MN 55003-1049. Plaintiff was hired by Renewal in 2018 and

            9   employed at the Renewal location at 22982 Alcalde Drive, Laguna Hills, California 92653 in

           10   Orange County.

           11          3.      Defendant Andersen Windows, Inc. (hereinafter referred to as “Andersen”) is a

           12   Minnesota corporation headquartered at 551 North Maine Street, Bayport, Minnesota 55003.

     CL    13   Upon information and belief, Andersen acquired the Renewal location where Plaintiff worked in
     Z>
     O     14   or around 2020 and became Plaintiff s employer.
     cc
     u
           15          4.      The true names and capacities, whether individual, corporate, partnership,
     <
           16   associate, or otherwise, of the Defendants sued herein as DOES 1 through 10, inclusive, are

           17   currently unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.

CO         18   Plaintiff is informed and believes, and based thereon alleges, that each of the Defendants

           19   designated herein as a DOE is legally responsible in some manner for the events and happenings

           20   referred to herein and caused injury and damage proximately thereby to Plaintiff as hereinafter

           21   alleged. Plaintiff will seek to amend this Complaint to show the true names and capacities of the

           22   Defendants designated herein as DOES when the same have been ascertained. Whenever in this

           23   Complaint reference is made to “Defendants,” such allegation shall be deemed to mean the acts

           24   of Defendants acting individually, jointly, and/or severally.

           25          5.      Plaintiff is informed and believes, and thereby alleges, that each of the Defendants

           26   herein was at all times the agent and/or employee of each of the remaining Defendants, and was

           27   at all times mentioned, acting within the course and scope of said agency and/or employment,

           28   and each Defendant was acting with the full knowledge and consent of his superior or principal,




                                                                 3
                                                          COMPLAINT
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            1   and each such principal or superior at all times ratified and acquiesced in each and every act of

            2   each Defendant and agent thereof, and as such each Defendant bound the other by his act and

            3   deed. Further, each of the Defendants aided, abetted, incited, compelled, and/or coerced one

            4   another, and/or conspired with one another, to do the acts alleged herein.

            5           6.      Defendants Renewal and Andersen and DOES 1 through 10, collectively shall be

            6   referred to herein as “Defendants.”

            7                                                    VENUE

            8           7.      Venue is proper in the Superior Court of Orange County because the County of

            9   Orange, State of California, is where the conduct, acts, inaction, statements, or omissions

           10   complained of in this Complaint took place.

           11                                      GENERAL ALLEGATIONS

           12           8.      On or about June 1 1, 2018, Plaintiff began working for Renewal, as a full-time

     CL    13   Installation Partner, assisting with the completion of installation of windows. At all relevant


     1 14       times, Plaintiff was qualified for his position and perfonned his duties in a reasonably competent

           15   manner.

     <
           16           9.      Within approximately one year, Plaintiff received a pay raise and in August 2019

           17   was promoted to lead and earned another pay raise. On November 25, 2019, Plaintiff received

CO         18   another promotion, and another pay raise.

           19           10.     On December 10, 2019, Plaintiff suffered serious workplace injuries. He fell off a

           20   40-foot ladder and suffered injuries including a laceration to the forehead that required staples,

           21   musculo ligamentous strain of the cervical spine, shoulder injury, musculoligamentous strain of

           22   the lumbosacral spine, second-degree ankle sprain, and knee injury.

           23           11.     On or about the same day, Plaintiff began a leave of absence as a result of a

           24   workplace injury. Plaintiffs injuries to his forehead, ankle, back, and neck was a physical

           25   disability and serious health condition that limited Plaintiff s major life activities, including his

           26   ability to walk, lift, stand, bathe, and work.

           27           12.     Upon information and belief, in or around 2020, Andersen acquired the Renewal

           28   business where Plaintiff was employed and became Plaintiff s employer.




                                                                   4
                                                            COMPLAINT
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            1          13.     On or about October 6, 2020, Dr. Luigi Galloni issued a Qualified Medical

            2   Evaluation (QME) Report finding that Plaintiff was “temporarily partially disabled” and placed

            3   Plaintiff on work restrictions of no lifting more than 20 pounds and no prolonged standing and

            4   walking.

            5          14.     Over three months later, on or about January 8, 2021, Plaintiff received a letter

            6   from Defendants on Andersen Windows & Doors letterhead indicating that the company had

            7   identified light duty work for him working in the paint shop with duties in line with his

            8   restrictions of no lifting more than 20 pounds and no prolonged standing and walking.

            9          15.     On or about January 18, 2021, Plaintiff returned to work in Defendants’ paint

           10   shop on modified duty.

           11          16.     At first, it seemed that Defendants were accommodating Plaintiffs disability and

           12   respecting his work restrictions. However, on or about March 1 1, 2021, management revealed

     CL    13   their true discriminatory intent. During a meeting with General Manager Charlie Gindele,
     Z>
     O     14   Plaintiff s supervisors Manuel Chavez and Primo, a human resources representative named Erin
     cc
     u
           15   told Plaintiff that the company could not have him sitting for 1 5 minutes every hour and if he

     <
           16   needed to do that, he had to clock out and go home.

           17          17.     On or about March 12, 2021, Plaintiff continued to sit for 15 minutes every hour

CO         18   in accordance with his work restrictions. In response, human resources representative Yuri told

           19   him he needed to clock out and go home.

           20          18.     Plaintiff submitted time off requests for the following two workdays due to his

           21   ankle injury and the company’s refusal to pennit him to sit for 15 minutes every hour. These

           22   time off requests were approved.

           23          19.     On or about March 17, 2021, Plaintiff attended a doctor’s appointment for

           24   treatment for his workplace injuries. During his appointment, he received a phone call from

           25   Renewal notifying him that he was fired.

           26          20.     Shortly thereafter, on or about March 18, 2021, Plaintiff submitted a written

           27   request for his personnel file. Defendants ignored Plaintiffs written request. On or about April

           28   12, 2021, Plaintiffs counsel sent a second written request for Plaintiff s personnel file and




                                                                 5
                                                           COMPLAINT
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            1   payroll records by overnight delivery. Renewal finally produced the requested records on May

            2   20, 2021, over two months after Plaintiff made his written request.

            3          21.     Renewal fired Plaintiff on March 17, 2021 but did not give Plaintiff his final

            4   paycheck until March 24, 202 1 , over a week later.

            5          22.     On November 9, 2021, Plaintiff filed a complaint of discrimination and related

            6   claims against both Defendants with the Department of Fair Employment and Housing

            7   (“DFEH”), thereby exhausting his administrative remedies. On that same date, the DFEH issued

            8   Plaintiff a Right-to-Sue Notices. This action is filed within one year of all of Plaintiff s Right-to-

            9   Sue Notices.

           10                                      FIRST CAUSE OF ACTION

           11                            Disability Discrimination in Violation of FEHA

           12                                     Cal. Gov. Code § 12940 etseq.

     CL    13                                         (Against All Defendants)


     1 14              23.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           15   and every allegation contained in paragraphs 1 through 22, inclusive of this Complaint.

     <
           16          24.     Defendants is an employer in the State of California, as defined in the California

           17   Fair Employment and Housing Act (“FEHA”), Cal. Gov. Code § 12926.

CO         18          25.     At all relevant times herein, Plaintiff was an employee of Defendants within the

           19   meaning of Cal. Gov. Code § 12926. Defendants knew that Plaintiff had a physical disability,

           20   (laceration to the forehead that required staples, musculoligamentous strain of the cervical spine,

           21   shoulder injury, musculoligamentous strain of the lumbosacral spine, second-degree ankle

           22   sprain, and knee injury), that limited his major life activities, including his ability to work for a

           23   finite period of time, lift, stand, and walk. Plaintiff was able to perform the essential job duties

           24   with reasonable accommodations for his physical disability.

           25          26.      Defendants subjected Plaintiff to an adverse employment action when Defendants

           26   terminated Plaintiff. Plaintiffs physical disability was a substantial motivating reason for

           27   Defendants’ decision to terminate Plaintiff. Plaintiff was harmed. Defendants’ conduct was a

           28   substantial factor in causing Plaintiff s harm.




                                                                   6
                                                            COMPLAINT
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            1            27.       As a direct and proximate result of Defendants’ willful, knowing, and intentional

            2   discrimination against him, Plaintiff has suffered and will continue to suffer pain and suffering,

            3   mental anguish, emotional distress, and personal injuries. Plaintiff is thereby entitled to general

            4   and compensatory damages in amounts to be proven at trial.

            5            28.       As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            6   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

            7   to general and compensatory damages in amounts to be proven at trial.

            8            29.       As a direct and proximate result of Defendants’ conduct, Plaintiff has further

            9   suffered and will continue to suffer a loss of earnings and other employment benefits and job

           10   opportunities. Plaintiff is thereby entitled to general and compensatory damages in amounts to be

           11   proven at trial.

           12            30.       As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

     CL    13   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the


     1 14       terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           15   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

     <
           16   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

           17   12925.

CO         18            31.       Plaintiff is informed and believes and based thereon alleges that the outrageous

           19   conduct of Defendants described above was done with malice, fraud and oppression and with

           20   conscious disregard for his rights, and with the intent, design, and purpose of injuring him. By

           21   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum

           22   according to proof at trial.

           23                                       SECOND CAUSE OF ACTION

           24                  Failure to Engage in the Interactive Process in Violation of FEHA

           25                                        Cal. Gov. Code § 12940 et seq.

           26                                           (Against All Defendants)

           27            32.       Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 31, inclusive of this Complaint.




                                                                     7
                                                              COMPLAINT
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            1          33.     Defendants is an employer in the State of California, as defined in FEHA, Cal.

            2   Gov. Code § 12926.

            3          34.     At all relevant times herein, Plaintiff was an employee of Defendants within the

            4   meaning of Cal. Gov. Code § 12926.

            5          35.     At all relevant times, Plaintiff had a physical disability. Defendants knew that

            6   Plaintiff had a physical disability that limited his major life activities. With a reasonable

            7   accommodation, Plaintiff could perform the essential requirements of his job. Plaintiff was

            8   willing to participate in an interactive process to determine whether reasonable accommodation

            9   could be made so that Plaintiff would be able to perform the essential job requirements.

           10   Defendants failed to participate in a timely good-faith interactive process with Plaintiff to

           11   determine whether reasonable accommodation could be made. Plaintiff was harmed and

           12   Defendants’ failure to engage in a good-faith interactive process was a substantial factor in

     CL    13   causing Plaintiffs harm.


     1 14              36.     Plaintiff filed timely charges of failure to engage in the interactive process against

           15   Defendants with the DFEH, which issued right-to-sue notices to Plaintiff authorizing this
     <
           16   lawsuit. Plaintiff has therefore exhausted his administrative remedies.

           17          37.     As a direct and proximate result of Defendants’ willful, knowing, and intentional

CO         18   discrimination against him, Plaintiff has suffered and will continue to suffer pain and suffering,

           19   mental anguish, emotional distress, and personal injuries. Plaintiff is thereby entitled to general

           20   and compensatory damages in amounts to be proven at trial.

           21          38.     As a direct and proximate result of Defendants’ willful, knowing and intentional

           22   discrimination against him, Plaintiff has further suffered and will continue to suffer a loss of

           23   earnings and other employment damages in amounts to be proven at trial.

           24          39.     As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

           25   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the

           26   terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           27   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

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                                                           COMPLAINT
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            1   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

            2   12925.

            3            40.    Plaintiff is informed and believes and based thereon alleges that the outrageous

            4   conduct of Defendants described above was done with malice, fraud and oppression and with

            5   conscious disregard for his rights, and with the intent, design, and purpose of injuring him. By

            6   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum

            7   according to proof at trial.

            8                                     THIRD CAUSE OF ACTION

            9                            Failure to Accommodate in Violation of FEHA

           10                                     Cal. Gov. Code § 12940 et seq.

           11                                         (Against All Defendants)

           12            41.    Plaintiff incorporates herein by reference, as though fully set forth herein, each

     CL    13   and every allegation contained in paragraphs 1 through 40, inclusive of this Complaint.
     Z>
     O     14            42.    Defendants is an employer in the State of California, as defined in the FEHA, Cal.
     cc
     u
           15   Gov. Code § 12926.

     <
           16            43.    At all relevant times herein, Plaintiff was an employee of Defendants within the

           17   meaning of Cal. Gov. Code § 12926. Plaintiff had a physical disability that limited his major life

CO         18   activities. Defendant knew that Plaintiff had a physical disability that limited his major life

           19   activities. Plaintiff was able to perform the essential job duties with reasonable accommodation

           20   for his physical disability.

           21            44.    Defendant failed to accommodate Plaintiff s disability in violation of FEHA as set

           22   forth above. Plaintiff was harmed and Defendants’ failure to provide reasonable accommodation

           23   was a substantial factor in causing Plaintiff s harm.

           24            45.    Plaintiff filed timely charges of failure to engage in the interactive process against

           25   Defendants with the DFEH, which issues right-to-sue notices to Plaintiff authorizing this lawsuit.

           26   Plaintiff has therefore exhausted his administrative remedies.

           27            46.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

           28   and will continue to suffer damages, including, but not limited to, lost past and future wages and




                                                                  9
                                                           COMPLAINT
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            1   benefits and emotional distress, all in an amount to be determined at trial and in excess of the

            2   jurisdictional minimum of this court.

            3          47.     Plaintiff is informed and believes, and thereon alleges, that Defendant, by

            4   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

            5   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

            6   willful and conscious disregard of the rights, welfare and safety of Plaintiff.   Plaintiff should,

            7   therefore, be awarded exemplary and punitive damages against Defendant, and each of them, in

            8   an amount to be established that is appropriate to punish Defendant and deter others from

            9   engaging in such conduct.

           10                                    FOURTH CAUSE OF ACTION

           11            Failure to Prevent Discrimination and/or Retaliation in Violation of FEHA

           12                                     Cal. Gov. Code § 12940 etseq.

     CL    13                                         (Against All Defendants)


     1 14              48.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           15   and every allegation contained in paragraphs 1 through 47, inclusive of this Complaint.

     <
           16          49.     Defendants is an employer in the State of California, as defined in FEHA, Cal.

           17   Gov. Code § 12926.

CO         18          50.     At all relevant times herein, Plaintiff was an employee of Defendants within the

           19   meaning of Cal. Gov. Code § 12926.

           20          51.     Plaintiff was subjected to discrimination and/or retaliation in the course of

           21   employment in violation of the FEHA, Cal. Gov. Code § 12940, et seq. as set forth herein.

           22          52.     Under FEHA, Cal. Gov. Code § 1 2940(k), an employer must take all reasonable

           23   steps necessary to prevent discrimination from occurring.

           24          53.     Defendants, through their managing agents and supervisors, should have but did

           25   not take all reasonable steps necessary to prevent discrimination and/or retaliation from

           26   occurring. Plaintiff was harmed, and Defendants’ failure to take all reasonable steps to prevent

           27   the discrimination and/or retaliation was a substantial factor in causing Plaintiff s harm.

           28          54.     As a direct and proximate result of Defendants’ willful, knowing, and intentional




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                                                           COMPLAINT
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            1   failure to prevent discrimination and retaliation against him, Plaintiff has suffered and will

            2   continue to suffer pain and suffering, mental anguish, emotional distress, and personal injuries.

            3   Plaintiff is thereby entitled to general and compensatory damages in amounts to be proven at

            4   trial.

            5            55.    As a direct and proximate result of Defendants’ willful, knowing and intentional

            6   retaliation against him, Plaintiff has further suffered and will continue to suffer a loss of earnings

            7   and other employment benefits and job opportunities. Plaintiff is thereby entitled to general and

            8   compensatory damages in amounts to be proven at trial.

            9            56.    As a further, direct and proximate result of Defendants’ violation of Cal. Gov.

           10   Code § 12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the

           11   terms and conditions of his employment relationship with Defendants, and has thereby incurred,

           12   and will continue to incur, legal fees and costs, the full nature and extent of which are presently

     CL    13   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §


     1 14       12965.

           15            57.    Plaintiff is informed and believes, and thereon alleges, that Defendants, by
     <
           16   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

           17   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

CO         18   willful and conscious disregard of the rights, welfare and safety of Plaintiff.   Plaintiff should,

           19   therefore, be awarded exemplary and punitive damages against Defendants, and each of them, in

           20   an amount to be established that is appropriate to punish Defendant and deter others from

           21   engaging in such conduct.

           22                                     FIFTH CAUSE OF ACTION

           23                  Retaliation for Requests for Accommodation in Violation of FEHA

           24                                     Cal. Gov. Code § 12940 et seq.

           25                                         (Against All Defendants)

           26            58.    Plaintiff incorporates herein by reference, as though fully set forth herein, each

           27   and every allegation contained in paragraphs 1 through 57, inclusive of this Complaint.

           28            59.    Defendants is an employer in the State of California, as defined in the FEHA, Cal.




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                                                           COMPLAINT
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            1   Gov. Code § 12926.

            2            60.   Plaintiff engaged in protected activity when Plaintiff requested reasonable

            3   accommodations for his disability. Defendants terminated Plaintiff, and Plaintiff s request for

            4   reasonable accommodations was a substantial motivating reason for Defendants’ decision to

            5   terminate Plaintiff. Plaintiff was harmed, and Defendants’ decision to terminate Plaintiff was a

            6   substantial factor in causing Plaintiff harm.

            7            61.   As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            8   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

            9   to general and compensatory damages in amounts to be proven at trial.

           10            62.   As a direct and proximate result of Defendants’ violation of Cal. Gov. Code §

           11   12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the terms

           12   and conditions of his employment relationship with Defendants, and has thereby incurred, and

     CL    13   will continue to incur, legal fees and costs, the full nature and extent of which are presently


     1 14       unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §

           15   12965.
     <
           16            63.   Plaintiff is informed and believes, and thereon alleges, that Defendants, by

           17   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

CO         18   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

           19   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

           20   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

           21   established that is appropriate to punish Defendants and deter others from engaging in such

           22   conduct.

           23                                     SIXTH CAUSE OF ACTION

           24                           CFRA Rights Retaliation in Violation of FEHA

           25                                     Cal. Gov. Code § 12940 et seq.

           26                                         (Against All Defendants)

           27            64.   Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 63, inclusive of this Complaint.




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                                                           COMPLAINT
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            1            65.   Plaintiff was eligible for medical leave and requested medical leave. Plaintiff has

            2   worked for Defendants for over one year and has worked at least 1,250 hours of service in the

            3   past year. Defendants has over 5 employees working within a 75-mile radius.

            4            66.   Plaintiff s request for and taking of medical leave was a substantial motivating

            5   reason for Defendants’ wrongful termination of Plaintiff.

            6            67.   Plaintiff was harmed, and Defendants’ retaliatory conduct was a substantial factor

            7   in causing Plaintiff s harm.

            8            68.   As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

            9   and will continue to suffer pain and suffering and emotional distress. Plaintiff is thereby entitled

           10   to general and compensatory damages in amounts to be proven at trial.

           11            69.   As a direct and proximate result of Defendants’ violation of Cal. Gov. Code §

           12   12900 et seq., Plaintiff has been compelled to retain the services of counsel to enforce the terms

     CL    13   and conditions of his employment relationship with Defendants, and has thereby incurred, and


     1 14       will continue to incur, legal fees and costs, the full nature and extent of which are presently

           15   unknown to him. Plaintiff requests that attorneys’ fees be awarded pursuant to Cal. Gov. Code §
     <
           16   12965.

           17            70.   Plaintiff is informed and believes, and thereon alleges, that Defendants, by

CO         18   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

           19   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

           20   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

           21   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

           22   established that is appropriate to punish Defendants and deter others from engaging in such

           23   conduct.

           24                                   SEVENTH CAUSE OF ACTION

           25                                   Violation of Labor Code § 1198.5

           26                                         (Against All Defendants)

           27            71.   Plaintiff incorporates herein by reference, as though fully set forth herein, each

           28   and every allegation contained in paragraphs 1 through 70, inclusive of this Complaint.




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                                                           COMPLAINT
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            1          72.     California Labor Code § 1 198.5 requires an employer to allow inspection and

            2   copying of personnel file records within 30 days of a written request. The section provides for

            3   $750 penalty payable to the employee for violation and allows an employee to sue for injunctive

            4   relief and obtain an award of costs and attorneys’ fees.

            5          73.     Plaintiff submitted a written request for his personnel file records to Human

            6   Resources representative Yuri on or about March 18, 2021.

            7          74.     Defendants did not provide Plaintiff with a copy of his personnel file within 30

            8   days of a written request for the same.

            9          75.     As a proximate result, Plaintiff has suffered injury as articulated under the

           10   California Labor Code.

           11          76.     Plaintiff seeks an award of the statutory penalty, and order/inj unction compelling

           12   compliance, and reasonable attorneys’ fees and costs.

     CL    13                                    EIGHTH CAUSE OF ACTION
     Z>
     O     14                            Failure to Pay Wages - Waiting Time Penalties
     cc
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           15                                         (Against All Defendants)

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           16          77.     Plaintiff incorporates herein by reference, as though fully set forth herein, each

           17   and every allegation contained in paragraphs 1 through 76, inclusive of this Complaint.

CO         18          78.     At all times herein set forth, California Labor Code §§201 and 202 provide that if

           19   an employer discharges an employee, the wages earned and unpaid at the time of discharge are

           20   due and payable immediately.

           21          79.     Defendants terminated Plaintiff s employment on March 1 7, 202 1 . However,

           22   Defendants failed to pay Plaintiff all wages required to be paid by California Labor Code

           23   sections 201 and 202 at the time of discharge. Defendants did not pay Plaintiff his final wages

           24   until on or about March 24, 202 1 .

           25          80.     Defendants’ failure to pay Plaintiff his wages earned and unpaid at the time of

           26   discharge is in violation of California Labor Code §§201 and 202.

           27          81.     California Labor Code § 203 provides that if an employer willfully fails to pay

           28   wages owed, in accordance with sections 201 and 202, then the wages of the employee shall




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                                                           COMPLAINT
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            1   continue as a penalty wage from the due date, and at the same rate until paid or until an action is

            2   commenced; but the wages shall not continue for more than thirty (30) days.

            3           82.        Plaintiff is entitled to recover from Defendants his additionally accruing wages

            4   for each day he was not paid, at his regular hourly rate of pay, up to 30 days maximum pursuant

            5   to California Labor Code § 203.

            6           83.        Pursuant to California Labor Code §§ 218.5, 218.6 and 1194, Plaintiff is entitled

            7   to an award of reasonable attorneys’ fees, interest, expenses, and costs incurred in this action.

            8                                        NINTH CAUSE OF ACTION

            9                            Wrongful Termination in Violation of Public Policy

           10                                            (Against All Defendants)

           11           84.        Plaintiff incorporates herein by reference, as though fully set forth herein, each

           12   and every allegation contained in paragraphs 1 through 83, inclusive of this Complaint.

     CL    13           85.        At all relevant times herein, Plaintiff was employed by Defendants.
     Z>
     o     14           86.        On or about March 17, 2021, Defendants terminated Plaintiff.
     cc
     U
           15           87.        Plaintiff is informed and believes that Plaintiff s request for a reasonable

     <
           16   accommodation, Plaintiff s CFRA leave, and Plaintiff s disability, were each a substantial

           17   motivating reason for Plaintiff s discharge in violation of FEHA, Gov. Code § 12900 et seq.

ID         18   Plaintiff was harmed, and Defendants’ conduct was a substantial factor in causing Plaintiffs

           19   harm.

           20           88.        It is the public policy of the State of California, as expressed in FEHA, that

           21   employees shall not be terminated because of their disabilities and/or requests for reasonable

           22   accommodations of disabilities.

           23           89.        By the aforesaid acts and omissions of Defendants, Plaintiff has been directly and

           24   legally caused to suffer actual damages including, but not limited to, loss of earnings, reliance

           25   damages, costs of suit and other pecuniary loss in an amount not presently ascertained, but to be

           26   proven at trial.

           27

           28




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                                                              COMPLAINT
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            1          90.     As a direct and proximate result of Defendants’ willful, knowing, and intentional

            2   retaliation, Plaintiff has suffered and will continue to suffer emotional distress and other

            3   employment benefits and job opportunities in an amount to be determined at trial.

            4          91.     Plaintiff is informed and believes, and thereon alleges, that Defendants, by

            5   engaging in the aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in

            6   willful, malicious, fraudulent, intentional, oppressive and despicable conduct, and acted with

            7   willful and conscious disregard of the rights, welfare and safety of Plaintiff. Plaintiff should,

            8   therefore, be awarded exemplary and punitive damages against Defendants in an amount to be

            9   established that is appropriate to punish Defendants and deter others from engaging in such

           10   conduct.

           11                                        PRAYER FOR RELIEF

           12          WHEREFORE, Plaintiff prays judgment be entered in his favor and against Defendants,

     CL    13   each of them, as follows:


     1 14               1.     For general and special damages in an amount according to proof;

           15          2.      For compensatory damages in an amount according to proof;
     <
           16          3.      For punitive damages in an amount according to proof;

           17          4.      For reasonable costs of suit incurred;

CO         18          5.      For pre -judgment interest and post-judgment interest on all damages awarded;

           19          6.      For statutory penalties under the Labor Code;

           20          7.      For reasonable attorney’s fees and costs pursuant to statute, including but not

           21   limited to Gov. Code § 12965(b) according to proof; and

           22          8.      For such other and further relief as the Court may deem just and proper.

           23

           24   Dated: November 19, 2021                               STALWART LAW GROUP

           25

           26                                                       By:
                                                                    JI-IN LfcE HOUCk
           27                                                          DAVID ANGELOFF
                                                                    CINDY HICKOX
           28                                                       Attorney for Plaintiff AD ALBERTO
                                                                    OROPEZA


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                                                           COMPLAINT
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            1                                DEMAND FOR JURY TRIAL

            2          Plaintiff ADALBERTO OROPEZA hereby demands trial by jury on all issues so triable

            3   in the Complaint.

            4

            5   Dated: November 19, 2021
                                                                STALWART LAW GROUP
            6

            7
                                                             By:

            8                                                Jl-IN LEETJOIKK (
                                                             DAVID ANGELOFF
            9                                                CINDY HICKOX
                                                             Attorney for Plaintiff AD ALBERTO
           10
                                                             OROPEZA
           11

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     CL    13
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                                                      COMPLAINT
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                                 SUPERIOR COURT OF CALIFORNIA
                                         COUNTY OF ORANGE


                       ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE



    NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):


    Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the ADR
    Information Package along with the complaint and/or cross-complaint


                                   California Rules of Court - Rule 3.221
                           Information about Alternative Dispute Resolution (ADR)


    (a) Each court shall make available to the plaintiff, at the time of filing of the complaint, an
    ADR Information Package that includes, at a minimum, all of the following:


       (1) General information about the potential advantages and disadvantages of ADR and
       descriptions of the principal ADR processes.


       (2) Information about the ADR programs available in that court, including citations to any
       applicable local court rules and directions for contacting any court staff responsible for
       providing parties with assistance regarding ADR.


       (3) Information about the availability of local dispute resolution programs funded under the
       Dispute Resolutions Program Act (DRPA), in counties that are participating in the DRPA.
       This information may take the form of a list of the applicable programs or directions for
       contacting the county’s DRPA coordinator.


       (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR process.


    (b) A court may make the ADR Information Package available on its Web site as long as paper
    copies are also made available in the clerk’s office.


    (c) The plaintiff must serve a copy of the ADR Information Package on each defendant along
    with the complaint. Cross-complainants must serve a copy of the ADR Information Package on
    any new parties to the action along with the cross-complaint.




       L1200(Rev. April 2013)                                                          Page 1 of 4
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                                        SUPERIOR COURT OF CALIFORNIA
                                             COUNTY OF ORANGE

                                                    ADR Information

    Introduction.


    Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
    The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
    resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
    a trial. ADR can also give people more opportunity to determine when and how their dispute will be
    resolved.


    BENEFITS OF ADR.


    Using ADR may have a variety of benefits, depending on the type of ADR process used and the
    circumstances of the particular case. Some potential benefits of ADR are summarized below.

    Save Time.      A dispute often can be settled or decided much sooner with ADR; often in a matter of
    months, even weeks, while bringing a lawsuit to trial can take a year or more.


    Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
    they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.


    Increase Control Over the Process and the Outcome.                In ADR, parties typically play a greater role in
    shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
    their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
    fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
    allow the parties to choose an expert in a particular field to decide the dispute.


    Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
    example, an experienced mediator can help the parties effectively communicate their needs and point of
    view to the other side. This can be an important advantage where the parties have a relationship to
    preserve.



    Increase Satisfaction.          In a trial, there is typically a winner and a loser. The loser is not likely to be
    happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
    find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
    advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
    outcome.


    Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
    problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
    produce happier clients and thus generate repeat business from clients and referrals of their friends and
    associates.


    DISADVANTAGES OF ADR.


    ADR may not be suitable for every dispute.


    Loss of protections.          If ADR is binding, the parties normally give up most court protections, including a
    decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
    appellate court.



        L1200 (Rev. April 2013)                                                                         Page 2 of 4
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    Less discovery.       There generally is less opportunity to find out about the other side’s case with ADR
    than with litigation.   ADR may not be effective if it takes place before the parties have sufficient
    information to resolve the dispute.


    Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
    through ADR, the parties may have to put time and money into both ADR and a lawsuit


    Effect of delays if the dispute Is not resolved. Lawsuits must be brought within specified periods of
    time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
    a dispute is in an ADR process.


    TYPES OF ADR IN CIVIL CASES.


    The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
    conferences.


    Arbitration.    In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
    each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
    of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
    means that the parties waive their right to a trial and agree to accept the arbitrator’s decision as final.
    Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
    parties are free to request a trial if they do not accept the arbitrator’s decision.


        Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
        want another person to decide the outcome of their dispute for them but would like to avoid the
        formality, time, and expense of a trial. It may also be appropriate for complex matters where the
        parties want a decision-maker who has training or experience in the subject matter of the dispute.


        Cases for Which Arbitration May Not Be Appropriate.            If parties want to retain control over how
        their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
        arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
        evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
        more favorable result at trial than in arbitration, there may be penalties.


    Mediation. In mediation, an impartial person called a "mediator" helps the parties try to reach a mutually
    acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
    communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
    with the parties.


        Cases for Which Mediation May Be Appropriate.             Mediation may be particularly useful when
        parties have a relationship they want to preserve. So when family members, neighbors, or business
        partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
        emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
        them communicate with each other in an effective and nondestructive manner.


        Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
        parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
        parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
        the parties have a history of abuse or victimization.


    Neutral Evaluation.       In neutral evaluation, each party gets a chance to present the case to a neutral
    person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
    each party's evidence and arguments and about how the dispute could be resolved. The evaluator is




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    often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
    parties typically use It as a basis for trying to negotiate a resolution of the dispute.


        Cases for Which Neutral Evaluation May Be Appropriate.                Neutral evaluation may be most
        appropriate in cases in which there are technical issues that require special expertise to resolve or
        the only significant issue in the case is the amount of damages.


        Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
        appropriate when there are significant personal or emotional barriers to resolving the dispute.


    Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
    of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
    "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
    not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
    case and in negotiating a settlement. Settlement conferences are appropriate in any case where
    settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
    for trial.


    ADDITIONAL INFORMATION.

    In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
    of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
    a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
    likely to resolve your dispute.

    To locate a dispute resolution program or neutral in your community:
        •   Contact the California Department of Consumer Affairs, Consumer Information Center, toll free,
            1-800-852-5210
        •   Contact the Orange County Bar Association at (949) 440-6700
        •   Look in the telephone directories under “Arbitrators" or “Mediators”


    Free mediation services are provided under the Orange County Dispute Resolution Program Act (DRPA)
    For information regarding DRPA, contact:
        •   Community Service Programs, Inc. (949) 250-4058
        •   Orange County Human Relations (714) 834-7198


    For information on the Superior Court of California, County of Orange court ordered arbitration program,
    refer to Local Rule 360.


    The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
    (ENE). For the Civil Mediation program, mediators on the Court’s panel have agreed to accept a fee of
    $300 for up to the first two hours of a mediation session. For the ENE program, members of the Court’s
    panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
    information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
    programs is available on the Court’s website at www.occourts.org.




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 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                               FOR COURT USE ONLY




 Telephone No.:                                    Fax No. (Optional):
 E-Mail Address (Optional):
 ATTORNEY FOR (Name):                                         Bar No:


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 JUSTICE CENTER:
   Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
   Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512
   Harbor-Laguna Hills Facility -23141 Moulton Pkwy., Laguna Hills, CA 92653-1251
   Harbor - Newport Beach Facility - 4601 Jamboree Rd., Newport Beach, CA 92660-2595
   North - 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
   West - 8141 13,h Street, Westminster, CA 92683-0500


  PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT:

                                                                                             CASE NUMBER:
 ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


 Plaintiff(s)/Petitioner(s),.




 and defendant(s)/respondent(s),




 agree to the following dispute resolution process:

      Mediation

     Arbitration (must specify code)
                         Under section 1 1 41 .1 1 of the Code of Civil Procedure
                         Under section 1280 of the Code of Civil Procedure

      Neutral Case Evaluation

 The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
 was referred, whichever is sooner.


     I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to provide
 pro bono services.


     The ADR Neutral Selection and Party List is attached to this Stipulation.

 We understand that there may be a charge for services provided by neutrals. We understand that participating in
 an ADR process does not extend the time periods specified in California Rules of Court rule 3.720 et seq.


 Date:
                                 (SIGNATURE OF PLAINTIFF OR ATTORNEY)               (SIGNATURE OF PLAINTIFF OR ATTORNEY)


 Date:
                                 (SIGNATURE OF DEFENDANT OR ATTORNEY)               (SIGNATURE OF DEFENDANT OR ATTORNEY)




                       ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
 Approved for Optional Use                                                                     California Rules of Court, rule 3.221
 L1270 (Rev. January 2010)
